Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 1 of 77 Page ID
                                 #:4382




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              Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 2 of 77 Page ID
                                               #:4383


                  JOHN N. TEDFORD IV (State Bar No. 205537)
                   ted o~d d dk.com
               2 FDA I GgGILL,DIAMOND & KOLLITZ,LLP
                  1900 Avenue ofthe Stars, 1 lth Floor
               3 Los Angeles, California 90067
                  Telephone: 310 277-0077
               4 Facsimile: 310 277-5735
               5 Attorneys for David A. Gill, Receiver
               6
               7
               8                      UNITED STATES DISTRICT COURT
               9                     CENTRAL DISTRICT OF CALIFORNIA
              10
              1 1 SECURITIES AND EXCHANGE                   Case No. 8:10-cv-00849-AG(MLGx)
                  COMMISSION,
              12                                           ORDER GRANTING RECEIVER'S
                            Plaintiff,                     MO'T'ION FOR(1) APPROVAL OF
              13                                           FINAL REPORT AND ACCOUNT,
                        vs.                                 2)APPROVAL OF FINAL
              14'                                            OMPENSATION OF THE
                  WESTMOORE MANAGEMENT,                    RECEIVER AND HIS ATTORNEYS
              15  LLC;  WESTMOORE INVESTMENT,              AND ACCOUNTANTS,
                  LP.; WESTMOORE CAPITAL                  (3)AUTHORITY TO DISBURSE
              16 MANAGEMENT,INC.;                          REMAINING FUNDS ON A PRO
                  WESTMOORE CAPITAL,LLC; and               RATA BASIS, 4 DISCHARGE OF
              17  MATTHEW   R. JENNINGS,                   THE RECEIV ,AND
                                                                t    '-  t
             18              Defendants.                                     t   1

             19                                            Date: August 5, 2019
                                                           Time: 10:00 a.m.
             20                                            Place: Courtroom lOD
                                                                  411 West Fourth Street
             21                                                   Santa Ana, California
             22
             23        On August 5, 2019, the Court heard and considered the Receiver's Final
             24 Report and Account and Motionfog (1) Approval ofFinal Repot and Account,
             25 (2) Approval ofFinal Compensation ofthe Receives and His Attorneys and
             26 '~ Accountants, (3) Authority to Disburse Remaining Funds on a Pao Rata Basis,
             27 (4)Discharge ofthe Receive, and (S) Exoneration ofthe Receiver's Bond(the
             28 "Final Report") filed by David A. Gill, Receiver, the Honorable Andrew J~ Gilfords
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              Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 3 of 77 Page ID
                                               #:4384


               1 United States District Court Judge, presiding. Appearances were as noted on the
               2 ~ record at the hearing.
               3        The Court having considered the Final Report(docket no. 283), the
               4 declarations of David A. Gill, John N. Tedford, IV, and Susan P. Tomlinson (docket
               5 nos. 284-28~, and the Receiver's separate notice ofthe Final Report(docket no.
               6 287), and having heard the statements of counsel at the hearing, for good cause
               7 appearing, it is
               8'       ORDERED THAT:
               9 '~      1.    The Final Report is approved.
             10         2.     The receivership imposed by this Court's Judgment ofPer~mahent
             1 1 Injunction, Appointment ofPermanent Receive, and Imposang Other ReliefAs to
             12 Defendants Westmoor~e Management, LLC; Westmoo~e Investment, L.P.; Westmoo~e
             13 Capital Management, Inc.; and Westmoore Capital, LLC,entered on August 12,
             14 2011, is hereby terminated.
             1S         3.     David A. Gill (the "Receiver") is hereby discharged from all further
             16 duties, liabilities and responsibilities as the court-appointed receiver in this action.
             17         4.     On a final basis, for services rendered during this case, the Receiver is
             18 ~ awarded $211,296.00 of fees and $4,074.25 of costs. This includes $9,957.00 of fees
             19 and $84.41 of costs incurred from November 1, 2018, through the close ofthe case.
             20         5.     On a final basis, for services rendered during this case, banning, Gill,
             21 Diamond & Kollitz, LLP("DGDK"), is awarded $1,354,408.50 of fees and
             22 $30,055.79 of costs. This includes $90,450.00 of fees and $2,038.27 of costs
             23 incurred from November 1, 2018,through the close ofthe case.
             24         6.     On a final basis, for services rendered during this case, and pursuant to
             25 '~ the terms of the engagement agreement approved by this Court's order entered on
             26 August 6, 2012(docket no. 129), Castillo Snyder,PC, is awarded $752,109.44 of
             27 fees and $62,818.16 of costs.
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              Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 4 of 77 Page ID
                                               #:4385


                   1     7.     On a final basis, for services rendered during this case, Crowe Horwath
               2 LLP ("Crowe"), is awarded $565,349.50 of fees and $932.28 of costs. This includes
               3 $21,283.50 of fees and $25.27 of costs incurred from November 1, 2018, through the
               4 close of the case.
               5         8.     On a final basis, for services rendered during this case as the Receiver's
               6 forensic analyst, investigator and expert witness,PCG Consulting, PC,is awarded
               7 $482,588.95 of fees and $356.00 of costs.
               8         9.     The Receiver is hereby authorized to distribute remaining funds in the
               9 receivership estate to the Receiver, DGDK and Crowe, on a pro rata basis.
              10         10.    The Caurt finds that all the Receiver's acts and transactions during his
              1 1 administration of the receivership estate, including the actions of his employees and
              12 agents, were right and proper and in the best interests of the receivership estate and
              13 the parties to this action. All such acts and transactions are ratified, confirmed and
              14 approved.
              15         1 1.   The Receiver and the receivership estate are hereby released from any
              16 and all liability for any and all claims, demands or causes of action that may have
              17 directly or indirectly arisen from the receivership estate prior to, during, or after the
              18 receivership period.
              19         12.    The Court hereby determines that the Receiver has no further duty or
             20 obligation to prepare or file further tax returns, or pay further taxes, on behalf ofthe
             21 receivership estate.
             22 '~       13.    The Receiver is authorized to abandon remaining assets of the
             23 receivership estate, and any and all such assets shall be deemed abandoned upon
             24 entry ofthis order.
             25          14.    Any bond posted by the Receiver is hereby released from liabilities and
             26 the sureties thereon are hereby exonerated.
             27 ///
             28 ///
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              Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 5 of 77 Page ID
                                               #:4386


                   1               15.   The Court hereby reserves exclusive jurisdiction over any and all claims
                   2 that may be asserted against the Receiver and his professionals and employees for
                   3 their services, and all issues that were part ofthe subject matter ofthe receivership
                   4 I I estate.
                   5
                   6
                       ~ DATED: August           ,2019
                   7                                            ANDREW J. GUILFORD
                   8                                            UNITED STATES DISTRICT JUDGE

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Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 6 of 77 Page ID
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      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 7 of 77 Page ID
                                       #:4388


 RECEIPTS DURING THE REPORTING PERIOD:
      Regular collections (including notes receivable)
        --Settlement with Hendricksons (re HW Partners)              $249,630.67
        --Settlement with Hendricksons (re Huntley)                        $0.00
        --Settlement with Hendricksons (re Wylie)                     $50,000.00
                                                                                     $299,630.67

       Payments by or OBO Jennings re SEC judgment                                   $244,926.57

       Cash and securities
         -- Cash recovered from deposit accounts                       $4,243.54
         -- Cash received from liquidation of brokerage accounts      $35,536.25
         -- Cash proceeds from sale of MHS Capital (net)              $78,390.50
         -- Distribution from MKA                                      $5,499.62
                                                                                     $123,669.91
       Sales of real property
          -- Belmont Lofts unit 406(gross = $165,000)               $124,202.63
          -- Belmont Lofts unit 409 (gross = $175,000)              $152,415.53
         -- Belmont Lofts unit 411(gross = $170,000)                $138,901.58
         -- Tahoe City residence                                     $30,000.00
                                                                                     $445,519.74

       Sales of personal property (other than securities)                                  ~O.flO

       Collections from litigation (gross)
         -- Confidential settlement with former professional         $275,000.00
         -- Confidential settlement with former employee              $35,000.00
         --Confidential settlement with former investor              $500,000.00
         --Settlement with Bickford                                   $17,500.00
         --Settlement with Blessing / W2                             $100,000.00
         --Settlement with D Braun                                    $85,000.00
         --Settlement with Brod                                       $14,980.00
         --Settlement with Egigian                                    $25,000.00
         --Settlement with Goodrich                                   $10,000.00
         --Settlement with Hernandez /Empire Family                   $27,500.00
         --Settlement with Linsley                                    $80,000.00
         --Settlement with Molenaar                                    $2,000.00
         --Settlement with Olshansky                                  $65,000.00
         --Settlement with Shlimovich /Weinberg / UL               $1,200,000.00
         --Settlement with Villanueva                                 $50,000.00
         --Judgment against Chin Wang                                      $0.00
         --Judgment against Matthew Jennings                               $0.00
                                                                                   $2,486,980.00

       Miscellaneous -Other
         --Interest income                                               $23.69
         -- Reimbursement of discovery costs                          $3,060.00
         -- Income tax refunds                                        $1,681.32
                                                                                      $4,765.01
TOTAL.ftE~ElP`fS UUI't1PDG ~i'~fE FtEPd~12T11~Ci P~it3Q0                                            rj3,Eit3~,~91.9Q




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      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 8 of 77 Page ID
                                       #:4389



        Regular expenses
          -- Non-litigation subpoenas and document requests                  $3,834.19
          -- Retrieval and storage of books and records (File Keepers)       $7,259.40
          -- Retrieval and storage of books and records (Iron Mountain)      $2,793.32
          -- Retrieval and storage of books and records (L.A. Storage)       $6,880.00
          -- Retrieval and storage of books and records(Remington)          $10,156.97
          -- Server storage and related costs (Nextech)                     $13,906.63
          -- Concordance subscription                                       $19,642.00
          -- Federal and state income taxes                                  $7,200.00
          -- Other expenses                                                    t7~1 tiF
                                                                                             $72,404.17
        Bank Service Fees
          -- Bank of America (Oct. 2011- Sep. 2012)                          $4,470.00
          -- Associated Bank (Oct. 2012 -Mar. 2015)                         $16,251.96
          --Union Bank (Apr. 2015 -present)                                 $46,089.12
                                                                                            $66,811.08
       Third-Party Litigation Expenses
         -- Costs to produce WM records                                      $1,043.25
         -- Contingency fees (Castillo Snyder)                             $752,109.44
         -- Costs of litigation (Castillo Snyder)                           $36,801.77
         -- Costs re litigation (Cooper Law Firm)                            $7,101.84
         -- Costs re litigation (expert witness fees and costs)             $10,478.80
         -- Costs re litigation (paid directly to vendors)                   $8,435.75
         -- Payments to De Teresa per settlement                           $105,769.42
                                                                                           $921,740.27
       Disbursements to Receiver, professionals &field representative
         --Disbursements to Receiver (fees)                                $185,712.41
         --Disbursements to Receiver (costs)                                  $3,989.84
         --Disbursements to Receiver's general counsel (fees)             $1,165,858.47
         -- Disbursements to Receiver's general counsel (costs)             $28,017.52
         -- Disbursements to Receiver's tax accountants (fees)             $501,839.23
         -- Disbursements to Receiver's tax accountants (costs)                $907.01
         -- Disbursements to Receiver's forensic analyst(fees)             $482,588.95
         --Disbursements to Receiver's forensic analyst (costs)                $356.00
         --Disbursements to field representative (fees &costs)             $124,259.00
                                                                                          $2,493,528.43

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Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 9 of 77 Page ID
                                 #:4390




                        EXHIBIT "3"

                                                                               41
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX6623
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                 5                   6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                      ($)
   03/27/15                     Transfer from Acct # xxxxxx4938         Transfer of Funds                                      9999-00          $1,101,309.92                            $1,101,309.92

   04/10!15           5001      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      $85.80       $1,101,224.12
                                6227 E. SLAUSON AVE.                    CHARGES PER INVOICE
                                COMMERCE, CA 90040                      #407568


   04/10/5            5002      NEXTECH                                 SERVERCOLOCATION                                       6990-00                                     $400.00       $1,100,824.12
                                2030 E. 4TH STREET                      SERVICES FOR FEBRUARY
                                SUITE 156                               2015 AND APRIL 2015,
                                SANTA ANA, CA 92705-3940                INVOICE #S 2913 AND 3015
   04/27/15                     Union Bank                              Bank Service Fee under 11                              2600-00                                     $264.01       $1,100,560.11
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(x)(2)
                                                                                                                                                                                                                                      #:4391




   05/07/15           5003      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      $85.80       $1,100,474.31
                                6227 E. SLAUSON AVE.                    CHARGES PER INVOICE
                                COMMERCE, CA 90040                      #410361


  05/07/15            5004      NEXTECH                                 SERVER COLOCATION                                      6990-00                                     $200.00       $1,100,274.31
                                2030 E. 4TH STREET                      SERVICES FOR MAY 2015,
                                SUITE 156                               INVOICE #3052
                                SANTA ANA, CA 92705-3940
  05/15/15            5005      JOAQUIN DE TERESA                       REIMBURSEMENT OF                                     6990       -00                             $2,250.00        $1,098,024.31
                                C/O CASTILLO SNYDER, A                  FUNDS ADVANCED FOR
                                PROFESSIONAL CORP.                      LITIGATION RELATING TO
                                BANK OF AMERICA PLAZA, STE 1020         CONFIDENTIAL
                                300 CONVENT STREET                      SETTLEMENT
                                SAN ANTONIO, TX 78205-3789

  05/15/15            5006      CASTI~LO SNYDER, A PROFESSIONAL         PAYMENT OF CONTINGENCY                                 6210-00                                  $3,750.00        $1,094,274.31
                                CORP.                                   FEE ON SETTLEMENTS
                                BANK OF AMERICA PLAZA, STE 1020         RECEIVED 2/2/15, 2/9/15 AND
                                300 CONVENT STREET                      3/12/15 TOTALLING $15,000
                                SAN ANTONIO, TX 78204-3789

  05/26/15                      Union Bank                              Bank Service Fee under 11                              2600-00                                  $1,583.69        $1,092,690.62
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 10 of 77 Page ID




                                                                        U.S.C. § 330(x)(1)(6), 503(b)
                                                                       (1), and 507(x)(2)




42
                                                                               Page Subtotals:                                                  $1,101,309.92           $8,619.30
                                  Exhibit 3
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX6623
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                 5                   6                   7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)  Account/CD Balance
                    Reference                                                                                                     Code                                                     ~$)
   06/02/15           5007      NEXTECH                                 SERVER COLOCATION                                      6990-00                                     $200.00     $1,092,490.62
                                2030 E. 4TH STREET                      SERVICES FOR JUNE 2015,
                                SUITE 156                               INVOICE #3072
                                SANTA ANA, CA 92705-3940
   06/16/15           5008      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      $85.80      $1,092,404.82
                                6227 E. SLAUSON AVE.                    CHARGES PER INVOICE
                                COMMERCE, CA 90040                      #413130


   06/25/15                     Union Bank                              Bank Service Fee under 11                              2600-00                                  $1,635.05       $1,090,769.77
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   07/06/15           5009      NEXTECH                                 SERVER COLOCATION                                      6990-00                                     $200.00      S1,090,569.77
                                2030 E. 4TH STREET                      SERVICES FOR JULY 2015,
                                SUITE 156                               INVOICE #3072
                                                                                                                                                                                                                                    #:4392




                                SANTA ANA, CA 92705-3940
   07/07/15           5010      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      $85.80      $1,090,483.97
                                6227 E. SLAUSON AVE.                    CHARGES PER INVOICE
                                COMMERCE, CA 90040                      #407568


   07/27/15                     Union Bank                              Bank Service Fee under 11                              2600-00                                  $1,571.15       $1,088,912.82
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(x)(2)
   07/31/15            10       CONFIDENTIAL SETTLEMENT                 JULY PAYMENT ON                                        1249-00              $5,000.00                           $1,093,912.82
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT WITH FORMER
                                                                        PROFESSIONALS OF
                                                                        WESTMOORE
  08/07/15            5011      NEXTECH                                 SERVER COLOCATION                                      6990-00                                     $200.00      $1,093,712.82
                                2030 E. 4TH STREET                      SERVICES FOR AUGUST
                                SUITE 156                               2015, INVOICE #3165
                                SANTA ANA, CA 92705-3940
  08/07/15            5012      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      $85.80      $1,093,627.02
                                6227 E. SLAUSON AVE.                    CHARGES PER INVOICE
                                COMMERCE, CA 90040                      #418744
                                                                                                                                                                                                  Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 11 of 77 Page ID




43
                                                                               Page Subtotals:                                                      $5,000.00           $4,063.60
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                 Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX6623
                                                                                                                                         GENERAL ACCOUNT
  TaxpayerlD No: XX-XXX0295                                                                             Blanket Bond (per case limit):
For Period Ending: 06/1 7/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                 5                   6                     7
Transaction Date    Check or              Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                      ($)
   08/10/i5            10        CONFIDENTIAL SETTLEMENT                 AUGUST PAYMENT ON                                      1249-00              $5,000.00                            $1,098,627.02
                                                                         CONFIDENTIAL
                                                                         SETTLEMENT WITH FORMER
                                                                         PROFESSIONALS OF
                                                                         WESTMOORE
   08/14/1 5          5013       MATTHEW BENDER & CO., INC.              E-DISCOVERY FOR PERIOD                                 6990-00                                  $3,008.00        $1,095,619.02
                                 P.O. BOX 7427-0178                      9/2015 THROUGH 8/2016,
                                 PHILADELPHIA, PA 19170-0178             INVOICE #7385218X
   08/25/15                      Union Bank                              Banl< Service Fee under 11                             2600-00                                  $1,620.77        $1,093,998.25
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   08/31/i5            10        CONFIDENTIAL SETTLEMENT                 SEPTEMBER PAYMENT ON                                   1249-00              $5,000.00                            $1,098,998.25
                                                                         CONFIDENTIAL
                                                                         SETTLEMENT WITH FORMER
                                                                         PROFESSIONALS OF
                                                                                                                                                                                                                                       #:4393




                                                                         WESTMOORE
  09/16/15            5014       FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      X85.80       $1,098,912.45
                                 6227 E. SLAUSON AVE.                    CHARGES PER INVOICE
                                 COMMERCE, CA 90040                      #421598


  09/16/15            5015       NEXTECH                                 SERVER COLOCATION                                      6990-00                                     $200.00       $1,098,712.45
                                 2030 E. 4TH STREET                      SERVICES FOR SEPTEMBER
                                 SUITE 156                               2015, INVOICE #3197
                                 SANTA ANA, CA 92705-3940
  09/25/15                       Union Bank                              Bank Service Fee under 11                              2600-00                                  $1,629.18        $1,097,083.27
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
  09/29/15             10        CONFIDENTIAL SETTLEMENT                 OCTOBER PAYMENT ON                                     1249-00              $5,000.00                            $1,102,083.27
                                                                         CONFIDENTIAL
                                                                         SETTLEMENT WITH FORMER
                                                                         PROFESSIONALS OF
                                                                         WESTMOORE
   10/07/15           5016       FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                     $85.80        $1,101,997.47
                                 6227 E. SLAUSON AVE.                    CHARGE, INVOICE #418744
                                 COMMERCE, CA 90040
                                                                                                                                                                                                     Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 12 of 77 Page ID




44
                                                                                Page Subtotals:                                                    $15,000.00            $6,629.55
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                       Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                              Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX6623
                                                                                                                                      GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                         Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                       Separate Bond (if applicable):


       1                2                           3                                           4                                                5                    6                     7
Transaction Date    Check or              Paid To /Received From                   Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                        ~$~
   10/12/15           5017      NEXTECH                                  SERVER COLOCATION                                   6990-00                                      $200.00       $1,101,797.47
                                2030 E. 4TH STREET                       SERVICES FOR OCTOBER
                                SUITE 156                                2015, INVOICE #3165
                                SANTA ANA, CA 92705-3940
   10/16/15           5018      DAVID A. GILL                            RECEIVER FEES PER                                  6101      -00                             X91,530.50        $1,010,266.97
                                1900 Avenue of the Stars, 11th Floor     ORDER ENTERED 10/14/15
                                Los Angeles, CA 90067-4402
   10/16/15           5019      DAVID A. GILL                            RECEIVER EXPENSES PER                               6102-00                                   $2,065.54        $1,008,201.43
                                1900 Avenue of the Stars, 11th Floor     ORDER ENTERED 10/14/15
                                Los Angeles, CA 90067-4402
   1 0/16/15          5020      DANNING GILL DIAMOND & KOLLITZ          ATTORNEYS FOR RECEIVER                               6110-00                                 $346,511.20          $661,690.23
                                LLP                                     -FEES PER ORDER
                                1900 AVE OF THE STARS,11TH FLLOS        ENTERED 10/14/15
                                ANGELES, CA 90067                       (80% OF ALLOWED FEES OF
                                                                        $433,139)
                                                                                                                                                                                                                                      #:4394




   10/16/15           5021      DANNING GILL DIAMOND & KOLLITZ   ATTORNEYS FOR RECEIVER                                      6120-00                                   $9,239.81          $652,450.42
                                LLP                              -EXPENSES PER ORDER
                                1900 AVE OF THE STARS,11TH FLLOS ENTERED 10/14/15
                                ANGELES, CA 90067
   10/16/15           5022      PCG CONSULTANTS                          FORENSIC ANALYST,                                   3991-00                                $344,384.75           $308,065.67
                                C/O TED PHELPS                           INVESTIGATOR AND EXPERT
                                6220 E. MANDALAY LANE                    WITNESS -FEES PER
                                SPOKANE, WA 99217                        ORDER ENTERED 10/14/15
   10/16/15           5023      PCG CONSULTANTS                          FORENSIC ANALYST,                                 3992       -00                                 $356.00         $307,709.67
                                C/O TED PHELPS                           INVESTIGATOR AND EXPERT
                                6220 E. MANDALAY LANE                    WITNESS -EXPENSES PER
                                SPOKANE, WA 99217                        ORDER ENTERED 10/14/15
   10(16/15           5024      CROWE HORWATH LLP                        ACCOUNTANTS FOR                                   6410       -00                            $12,728.50           X294,981.17
                                ATTN: SUE TOMLINSON                      RECEIVER -FEES PER
                                15233 VENTURA BLVD.                      ORDER ENTERED 10/14/15
                                9TH FLOOR
                                SHERMAN OAKS, CA 91403
   10/16/15           5025      CROWE HORWATH LLP                        ACCOUNTANTS FOR                                     6420-00                                       $98.16         $294,883.01
                                ATTN: SUE TOMLINSON                      RECEIVER -EXPENSES PER
                                15233 VENTURA BLVD.                      ORDER ENTERED 10/14/15
                                9TH FLOOR
                                SHERMAN OAKS, CA 91403
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 13 of 77 Page ID




45
                                                                              Page Subtotals:                                                          $0.00        $807,114.46
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                           Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX6623
                                                                                                                                          GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                             Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                  5                   6                     7
Transaction Date    Check or              Paid To /Received From                      Description of Transaction                Uniform Tran.    Deposits($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                       ~g~
   10/20/i5            10       CONFIDENTIAL SETTLEMENT                  NOVEMBER PAYMENT ON                                     1249-00              $5,000.00                              $299,883.01
                                                                         CONFIDENTIAL
                                                                         SETTLEMENT WITH FORMER
                                                                         PROFESSIONALS OF
                                                                         WESTMOORE
   10/26/15                     Union Bank                               Bank Service Fee under 11                               2600-00                                  $1,580.66          $298,302.35
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   1 1/05/15          5026      FILE KEEPERS LLC                         MONTHLY STORAGE                                         6990-00                                      $85.80         $298,216.55
                                6277 E. SLAUSON AVE.                     CHARGE, INVOICE #427261
                                COMMERCE, CA 90040


   1 1/06/15          5027      NEXTECH                                  SERVER COLOCATION                                       6990-00                                     $200.00         $298,016.55
                                2030 E. 4TH STREET                       SERVICES FOR NOVEMBER
                                                                                                                                                                                                                                         #:4395




                                SUITE 156                                2015, INVOICE #3289
                                SANTA ANA, CA 92705-3940
   1 1/09/15           36       Paul N. Weinberg                         PAYMENT ON SETTLEMENT                                   1249-00           $175,000.00                               $473,016.55
                                10560 Wilshire Blvd., No. 2004           WITH WEINBERG,
                                Los Angeles, CA 90024-7315               SHLIMOVICH AND
                                                                         I NGLEWOOD JEWELRY &
                                                                         LOAN, INC.
   1 1/09/15           36       YAKOV SHLIMOVICH                        FINAL SETTLEMENT                                         1249-00           $525,000.00                               $998,016.55
                                                                        PAYMENT RE WEINBERG,
                                                                        SHLIMOVICH AND
                                                                        I NGLEWOOD JEWELRY &
                                                                        LOAN, INC.
   1 1/25!15                    Union Bank                              Bank Service Fee under 11                                2600-00                                  $1,080.64          $996,935.91
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   1 1/30/15           10       CONFIDENTIAL SETTLEMENT                 DECEMBER PAYMENT ON                                      1249-00             $5,000.00                             $1,001,935.91
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT WITH FORMER
                                                                        PROFESSIONALS OF
                                                                        WESTMOORE
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 14 of 77 Page ID




46
                                                                               Page Subtotals:                                                     $710,000.00            $2,947.10
                                                                                     FORM 2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                       Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                             Bank Name: Union Bank
                                                                                                            Account Number/CD#: XXXXXX6623
                                                                                                                                      GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                         Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                       Separate Bond (if applicable):


       1                2                         3                                            4                                                 5                   6                     7
Transaction Date    Check or            Paid To /Received From                     Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                       ~$~
   1 2/03/15          5029      CASTILLO SNYDER, A PROFESSIONAL        PAYMENT OF CONTINGENCY                                6210-00                              ($244,711.71)        $1,246,647.62
                                CORP.                                  FEE ON SETTLEMENTS
                                BANK OF AMERICA PLAZA, STE 1020        RECEIVED 7/31/15, 8/10/15,
                                300 CONVENT STREET                     8/31115, 9/29/15, 10/20!15,
                                SAN ANTONIO, TX 78204-3789             11/30/15, 11/9/15 TOTALLING
                                                                       $730,000 Reversal
                                                                       I NCORRECT AMOUNT
   1 2/03/75          5028      JOAQUIN DE TERESA                      REIMBURSEMENT OF                                    6990       -00                             $6,750.00        X1,239,897.62
                                C/O CASTI~LO SNYDER, A                 FUNDS ADVANCED FOR
                                PROFESSIONAL CORP.                     LITIGATION RELATING TO
                                BANK OF AMERICA PLAZA, STE 1020        CONFIDENTIAL
                                300 CONVENT STREET                     SETTLEMENT
                                SAN ANTONIO, TX 78205-3789

   1 2/03/15          5029      CASTILLO SNYDER, A PROFESSIONAL        PAYMENT OF                                            6210-00                               $244,711.71           $995,185.91
                                                                                                                                                                                                                                    #:4396




                                CORP.                                  CONTINGENCY FEE ON
                                BANK OF AMERICA PLAZA, STE 1020        SETTLEMENTS RECEIVED
                                300 CONVENT STREET                     7/31/15, 8/10/15, 8/31/15,
                                SAN ANTONIO, TX 78204-3789             9/29/15, 10/20/15, 11/30/15,
                                                                       1 1/9/15 TOTALLING $730,000
   1 2!03/15          5030      CASTILLO SNYDER, A PROFESSIONAL       PAYMENT OF                                             6220-00                                     $577.48         $994,608.43
                                CORP.                                 CONTINGENCY COSTS
                                BANK OF AMERICA PLAZA, STE 1020       RELATING TO SETTLEMENTS
                                300 CONVENT STREET                    RECEIVED 7/31/15, 8/10/15,
                                SAN ANTONIO, TX 78204-3789            8/31/15, 9/29/15, 10/20/15,
                                                                      1 1/30/15, 11/9/15 TOTALLING
                                                                      $730,000
   1 2/03/15          5031      THE COOPER LAW FIRM, P.C.             REIMVURSEMENT OF                                     6220       -00                                $246.21         $994,362.22
                                2030 MAIN STREET, SUITE 1300          COSTS ADVANCED ON
                                I RVINE, CA 92614                     BEHALF OF CASTILLO
                                                                      SNYDER, APC FOR
                                                                      LITIGATION
  1 2/03/15           5032      CASTILLO SNYDER, A PROFESSIONAL       PAYMENT OF CONTINGENCY                               6210       -00                          $252,211.71           $742,150.51
                                CORP.                                 FEES RELATING TO
                                BANK OF AMERICA PLAZA, STE 1020       SETTLEMENTS RECEIVED
                                300 CONVENT STREET                    7/31/15, 8/10/15, 8/31/15,
                                SAN ANTONIO, TX 78204-3789            9/29/15, 10/20/15, 11/30/15,
                                                                      1 1/9/15 TOTALLING $730,000
                                                                                                                                                                                                  Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 15 of 77 Page ID




47
                                                                             Page Subtotals:                                                          $0.00        $259,785.40
                                                                                     FORM 2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                       Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                              Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX6623
                                                                                                                                      GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                         Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                         3                                             4                                                5                   6                     7
Transaction Date    Check or            Paid To /Received From                      Description of Transaction              Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                       ($)
   1 2/07/i 5         5033      FILE KEEPERS LLC                       MONTHLY STORAGE                                       6990-00                                      $85.80         $742,064.71
                                6277 E. SLAUSON AVE.                   CHARGE, INVOICE #430259
                                COMMERCE, CA 90040



   1 2/08/5           5034      NEXTECH                                SERVERCOLOCATION                                      6990-00                                     $200.00         5741,864.71
                                2030 E. 4TH STREET                     SERVICES FOR DECEMBER
                                SUITE 156                              2015, INVOICE #3306
                                SANTA ANA, CA 92705-3940
   1 21281s5                    Union Bank                            Bank Service Fee under 11                              2600-00                                  $1,134.21          $740,730.50
                                                                      U.S.C. § 330(a)(1)(B), 503(b)
                                                                      (1), and 507(x)(2)
   01/11/16            10       CONFIDENTIAL SETTLEMENT                JANUARY PAYMENT ON                                    1249-00              $5,000.00                              $745,730.50
                                                                       CONFIDENTIAL
                                                                       SETTLEMENT WITH FORMER
                                                                                                                                                                                                                                     #:4397




                                                                       PROFESSIONALS OF
                                                                       WESTMOORE
   01/12/i6           5035      FILE KEEPERS LLC                       MONTHLY STORAGE                                       6990-00                                      $85.80         $745,644.70
                                6277 E. S~AUSON AVE.                   CHARGE, INVOICE #433313
                                COMMERCE, CA 90040



   01/12/i6           5036      NEXTECH                                SERVER COLOCATION                                     6990-00                                     $200.00         $745,444.70
                                2030 E. 4TH STREET                     SERVICES FOR JANUARY
                                SUITE 156                              2016, INVOICE #3289
                                SANTA ANA, CA 92705-3940
   01/25/i6            10       CONFIDENTIAL SETTLEMENT                FEBRUARY PAYMENT ON                                   1249-00              $5,000.00                              $750,444.70
                                                                       CONFIDENTIAL
                                                                       SETTLEMENT WITH FORMER
                                                                       PROFESSIONALS OF
                                                                       WESTMOORE
   01/25/16                     Union Bank                             Bank Service Fee under 11                             2600-00                                  $1,214.84          $749,229.86
                                                                       U.S.C. § 330(a)(1)(B), 503(b)
                                                                      (1), and 507(x)(2)
   01/29/.6            10       CONFIDENTIAL SETTLEMENT                MARCH PAYMENT ON                                      1249-00              $5,000.00                              X754,229.86
                                                                       CONFIDENTIAL
                                                                       SETTLEMENT WITH FORMER
                                                                                                                                                                                                   Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 16 of 77 Page ID




                                                                       PROFESSIONALS OF
                                                                       WESTMOORE




48
                                                                              Page Subtotals:                                                    $15,000.00           $2,920.65
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX6623
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                         3                                              4                                                  5                  6                     7
Transaction Date    Check or            Paid To I Received From                      Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                      ($)
   02!10/16           5037      NEXTECH                                 SERVER COLOCATION                                      6990-00                                     $200.00         $754,029.86
                                2030 E. 4TH STREET                      SERVICES FOR FEBRUARY,
                                SUITE 156                               2016, INVOICE #3432
                                SANTA ANA, CA 92705-3940
   02/12/16           5038      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      X85.80         $753,944.06
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #436377
                                COMMERCE, CA 90040



   02/25/i6                     Union Bank                             Bank Service Fee under 11                               2600-00                                  $1,103.64          $752,840.42
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   02/29/16           5039      FRANCHISE TAX BOARD                     2016 FORM 541-ES FYE                                   2820-00                                     $800.00         $752,040.42
                                P.O. BOX 942867                         12/31/16, FEIN XX-XXXXXXX
                                SACRAMENTO, CA 94267-0008
                                                                                                                                                                                                                                       #:4398




   03/07/~ 6           10       CONFIDENTIAL SETTLEMENT                 APRIL AND FINAL PAYMENT                                1249-00              $5,000.00                              $757,040.42
                                                                        ON CONFIDENTIAL
                                                                        SETTLEMENT WITH FORMER
                                                                        PROFESSIONALS OF
                                                                        WESTMOORE
   03/08/16           5040      NEXTECH                                 SERVER COLOCATION                                      6990-00                                     $200.00         $756,840.42
                                2030 E. 4TH STREET                      SERVICES FOR MARCH,
                                SUITE 156                               2016, INVOICE #3461
                                SANTA ANA, CA 92705-3940
   03/1 1/'6          5041      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      $85.80         $756,754.62
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #439534
                                COMMERCE, CA 90040


   03/11/16           5042      JOAQUIN DE TERESA                       REIMBURSEMENT OF                                     6990       -00                             $4,500.00          $752,254.62
                                C/O CASTILLO SNYDER, A                  FUNDS ADVANCED FOR
                                PROFESSIONAL CORP.                      LITIGATION RELATING TO
                                BANK OF AMERICA PLAZA, STE 1020         CONFIDENTIAL
                                300 CONVENT STREET                      SETTLEMENT
                                SAN ANTONIO, TX 78205-3789
                                                                                                                                                                                                     Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 17 of 77 Page ID




49
                                                                               Page Subtotals:                                                      $5,000.00           $6,975.24
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Ban4< Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX6623
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bontl (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                    5                   6                      7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction                Uniform Tran.      Deposits ($)     Disbursements (~)     Account/CD Balance
                    Reference                                                                                                      Code                                                          C$)
   03/1 1/16          5043      CASTILLO SNYDER, A PROFESSIONAL         PAYMENT OF CONTINGENCY                                 6210      -00                               $5,000.00           $747,254.62
                                CORP.                                   FEES RELATING TO
                                BANK OF AMERICA PLAZA, STE 1020         SETTLEMENTS RECEIVED
                                300 CONVENT STREET                      1/1 1/16, 1/25/16, 1/29/16 and
                                SAN ANTONIO, TX 78204-3789              3/7/16 TOTALLING $20,000

   03/25/i6                     Union Bank                              Bank Service Fee under 11                                2600-00                                   $1,045.40           5746,209.22
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  04/05/16            5044      NEXTECH                                 SERVER COLOCATION                                        6990-00                                      $200.00          $746,009.22
                                2030 E. 4TH STREET                      SERVICES FOR APRIL, 2016,
                                SUITE 156                               INVOICE #3500
                                SANTA ANA, CA 92705-3940
  04(13/16            5045      FILE KEEPERS PLC                        MONTHLY STORAGE                                          6990-00                                       $85.80          $745,923.42
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #442644
                                                                                                                                                                                                                                           #:4399




                                COMMERCE, CA 90040



  04/25/16                      Union Bank                              Bank Service Fee under 11                                2600-00                                   $1,118.49           X744,804.93
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  05/09/16            5046      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                        $85.80          $744,719.13
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #445814
                                COMMERCE, CA 90040


  05/09/16            5047      NEXTECH                                SERVER COLOCATION                                        6990-00                                       $200.00          $744,519.13
                                2030 E. 4TH STREET                     SERVICES FOR MAY, 2016,
                                SUITE 156                              INVOICE #3558
                                SANTA ANA, CA 92705-3940
  05/18/16            5048      FILE KEEPERS LLC                       MONTHLY STORAGE                                          6990-00                                       ($85.80)         $744,604.93
                                6277 E. SLAUSON AVE.                   CHARGE, INVOICE #439534
                                COMMERCE, CA 90040                     Reversal
                                                                                                                                                                                                         Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 18 of 77 Page ID




50
                                                                              Page Subtotals:                                                              $0.00           $7,649.69
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX6623
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                 5                    6                      7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                     Code                                                         ~$)
   05/18/i6           5048      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80          $744,519.13
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #439534
                                COMMERCE, CA 90040


   05/18/16           5049      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80          $744,433.33
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #439534
                                COMMERCE, CA 90040


   05/20/6            5041      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      ($85.80)         $744,519.13
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #439534
                                COMMERCE, CA 90040                      Reversal
                                                                                                                                                                                                                                         #:4400




  05/25/i 6                     Union Bank                              Bank Service Fee under 11                              2600-00                                   $1,076.39           $743,442.74
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(x)(2)
  06/07/16            5050      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80          $743,356.94
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #448949
                                COMMERCE, CA 90040


  06/07/16            5051      NEXTECH                                 SERVER COLOCATION                                      6990-00                                      $200.00          $743,156.94
                                2030 E. 4TH STREET                      SERVICES FOR JUNE, 2016,
                                SUITE 156                               INVOICE #3558
                                SANTA ANA, CA 92705-3940
  06/27/16                      Union Bank                             Bank Service Fee under 11                               2600-00                                   $1,103.88           $742,053.06
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(x)(2)
  07/07/16            5052      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80          $741,967.26
                                6277 E. SLAUSON AVE.                    CHARGE, INVOICE #452072
                                COMMERCE, CA 90040
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 19 of 77 Page ID




51
                                                                               Page Subtotals:                                                           X0.00           $2,637.67
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Union Bank
                                                                                                                  Account NumberlCD#: XXXXXX6623
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1               2                           3                                             4                                                     5                  6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction                Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ~~~
   07/14/16           5053      FILE KEEPERS LLC                        MONTHLY STORAGE                                          6990-00                                       $85.80         $741,881.46
                                6277 E. SLAUSON AVE.                    CHARGES
                                COMMERCE, CA 90040


  07/14/16            5054      NEXTECH                                 SERVER COLOCATION                                       6990-00                                       $200.00         $741,681.46
                                2030 E. 4TH STREET                      SERVICES FOR JULY, 2016,
                                SUITE 156                               INVOICE #3640
                                SANTA ANA, CA 92705-3940
  07/25/16                      Union Bank                             Bank Service Fee under 11                                 2600-00                                   X1,066.02          $740,615.44
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  08/08/16            5055      NEXTECH                                 SERVER COLOCATION                                       6990-00                                       $200.00         $740,415.44
                                2030 E. 4TH STREET                      SERVICES FOR AUGUST,
                                SUITE 156                               2016, INVOICE #3691
                                                                                                                                                                                                                                         #:4401




                                SANTA ANA, CA 92705-3940
  08/08/16            5056      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                        $85.80         $740,329.64
                                6277 E. SLAUSON AVE.                    CHARGES
                                COMMERCE, CA 90040


  08/25/i6                      Union Bank                              Bank Service Fee under 11                               2600-00                                    $1,099.37          $739,230.27
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  09/06/16            5057      MATTHEW BENDER & CO., INC.             E-DISCOVERY FOR PERIOD                                   6990-00                                    $3,369.00          $735,861.27
                                28544 NETWORK PLACE                    912016 THROUGH 8/2017,
                                CHICAGO, IL 60673-1285                 INVOICE #85662453
  09/26/16                      Union Bank                              Bank Service Fee under 11                               2600-00                                    $1,097.29          $734,763.98
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  10/07/16           5058       NEXTECH                                SERVER COLOCATION                                        6990-00                                       $400.00         $734,363.98
                                2030 E. 4TH STREET                     SERVICES FOR SEPTEMBER
                                SUITE 156                              AND OCTOBER, 2016,
                                SANTA ANA, CA 92705-3940               INVOICE #3734 AND 3797
  1 0/07/16          5059       FILE KEEPERS LLC                       MONTHLY STORAGE                                          6990-00                                        $85.80        $734,278.18
                                6277 E. SLAUSON AVE.                   CHARGES, INVOICE #461680
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 20 of 77 Page ID




                                COMMERCE, CA 90040




52
                                                                               Page Subtotals:                                                             $0.00          $7,689.08
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
        Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                               Bank Name: Union Bank
                                                                                                             Account Number/CD#: XXXXXX6623
                                                                                                                                      GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1              2                            3                                             4                                                 5                    6                     7
Transaction Date   Check or              Paid To /Received From                      Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                   Reference                                                                                                     Code                                                        l$)
   10/25/16                     Union Bank                             Bank Service Fee under 11                              2600-00                                    $1,057.05          5733,221.13
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   1 1/09/16        5060        FILE KEEPERS LLC                        MONTHLY STORAGE                                       6990-00                                        $85.80         5733,135.33
                                6277 E. SLAUSON AVE.                   CHARGES, INVOICE #461681
                                COMMERCE, CA 90040


   1 1/16/6         5061        NEXTECH                                 SERVERCOLOCATION                                      6990-00                                       $200.00         $732,935.33
                                2030 E. 4TH STREET                      SERVICES FOR NOVEMBER,
                                SUITE 156                               2016, INVOICE #3734 AND
                                SANTA ANA, CA 92705-3940                3872
   1 1/25/16                    Union Bank                             Bani<Service Fee under 11                              2600-00                                    $1,088.39          $731,846.94
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
                                                                                                                                                                                                                                        #:4402




   1 2/02/16        5062        NEXTECH                                SERVER COLOCATION                                      6990-00                                       $200.00         $731,646.94
                                2030 E. 4TH STREET                     SERVICES FOR DECEMBER,
                                SUITE 156                              2016, INVOICE #3899
                                SANTA ANA, CA 92705-3940
   1 2/07/16        5063        FILE KEEPERS LLC                        MONTHLY STORAGE                                       6990-00                                        $85.80         $731,561.14
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #467994
                                COMMERCE, CA 90040


   1 2/27/16                    Union Bank                             Bank Service Fee under 11                              2600-00                                    $1,051.28          $730,509.86
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  01/06/17          5064        NEXTECH                                SERVER COLOCATION                                      6990-00                                       $200.00         X730,309.86
                                2030 E. 4TH STREET                     SERVICES FOR JANUARY
                                SUITE 156                              2017, INVOICE #3950
                                SANTA ANA, CA 92705-3940
  01/09/17          5065        FILE KEEPERS LLC                        MONTHLY STORAGE                                       6990-00                                        $85.80         $730,224.06
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #471211
                                COMMERCE, CA 90040
                                                                                                                                                                                                      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 21 of 77 Page ID




  01/25/17                      Union Bank                              Bank Service Fee under 11                             2600-00                                    $1,084.19          X729,139.87
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(x)(2)




53
                                                                               Page Subtotals:                                                           $0.00           $5,138.31
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                             Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX6623
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       T                2                          3                                              4                                                    5                    6                   7
Transaction Date    Check or             Paid To I Received From                      Description of Transaction                Uniform Tran.      Deposits ($)      Disbursements (~)  Account/CD Balance
                    Reference                                                                                                       Code                                                        ~~)
   02/14/17           5066      NEXTECH                                  SERVER COLOCATION                                        6990-00                                       $200.00       $728,939.87
                                2030 E. 4TH STREET                       SERVICES FOR FEBRUARY
                                SUITE 156                                2017, INVOICE #3995
                                SANTA ANA, CA 92705-3940
   02/14/17           5067      FILE KEEPERS LLC                         MONTHLY STORAGE                                          6990-00                                        $85.80       $728,854.07
                                6277 E. SLAUSON AVE.                     CHARGES, INVOICE #474423
                                COMMERCE, CA 90040


   02/27/17                     Union Bank                               Bank Service Fee under 11                                2600-00                                    $1,085.12        $727,768.95
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
   03/10/17           5068      FRANCHISE TAX BOARD                      FORM 541-ES, 2017                                        2820-00                                       $800.00       $726,968.95
                                P.O. BOX 942867                          ESTIMATE TAX, FEIN 90-
                                SACRAMENTO, CA 94267-0008                0760295
                                                                                                                                                                                                                                         #:4403




  03/10/17            5069      FILE KEEPERS LLC                         MONTHLY STORAGE                                          6990-00                                        $85.80       $726,883.15
                                6277 E. SLAUSON AVE.                     CHARGES, INVOICE #477608
                                COMMERCE, CA 90040


  03/27/17                      Union Bank                               Bank Service Fee under 11                                2600-00                                       $978.65       $725,904.50
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                        (1), and 507(a)(2)
  03/31(17            5070      NEXTECH                                  SERVER COLOCATION                                        6990-00                                       $200.00       $725,704.50
                                2030 E. 4TH STREET                       SERVICES FOR MARCH
                                SUITE 156                                2017, INVOICE #4027
                                SANTA ANA, CA 92705-3940
  04/06/17            5071      NEXTECH                                  SERVER COLOCATION                                        6990-00                                       X200.00       X725,504.50
                                2030 E. 4TH STREET                       SERVICES FOR APRIL 2017,
                                SUITE 156                                INVOICE #4027
                                SANTA ANA, CA 92705-3940
  04/18/17            5072      FILE KEEPERS LLC                         MONTHLY STORAGE                                         6990-00                                         $85.80       $725,418.70
                                6277 E. SLAUSON AVE.                     CHARGES, INVOICE #480843
                                COMMERCE, CA 90040


  04/25/17
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 22 of 77 Page ID




                                Union Bank                               Bank Service Fee under 11                                2600-00                                    $1,081.04        $724,337.66
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                        (1), and 507(x)(2)




54
                                                                                Page Subtotals:                                                              $0.00           $4,802.21
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX6623
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer lD No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1               2                           3                                             4                                                    5                   6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction                Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ~$~
   05/09/17           5073      FILE KEEPERS LLC                        MONTHLY STORAGE                                          6990-00                                       $85.80         $724,251.86
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #484159
                                COMMERCE, CA 90040


   05/25/17                     Union Bank                              Bank Service Fee under 11                                2600-00                                   $1,043.52          $723,208.34
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   06/06/17           5074      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                        $85.80         $723,122.54
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #487463
                                COMMERCE, CA 90040


  06/12/17            5075      NEXTECH                                 SERVER COLOCATION                                       6990-00                                       $400.00         $722,722.54
                                2030 E. 4TH STREET                      SERVICES FOR MAY AND
                                                                                                                                                                                                                                          #:4404




                                SUITE 156                               JUNE 2017, INVOICE #4156
                                SANTA ANA, CA 92705-3940
  06/26/17                      Union Bank                              Bank Service Fee under 11                               2600-00                                    $1,076.15          X721,646.39
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  07/10/17            5076      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                        $85.80         $721,560.59
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #490745
                                COMMERCE, CA 90040


  07/10/17            5077      NETWORK SOLUTIONS                      PROFESSIONAL HOSTING                                    2990      -00                                  $205.44         $721,355.15
                                ATTN: ACCOUNTS RECEIVABLE              FOR
                                WEB.COM GROUP, INC.                    WESTMOORERECEIVERHIP.
                                POB 865079                             COM (1 YEAR), ACCT
                                ORLANDO, FL 32886-5079                 #33191952
  07/25/17                      Union Bank                              Bank Service Fee under 11                               2600-00                                    $1,039.60          $720,315.55
                                                                        U,S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(x)(2)
  07/31/17            5078      MATTHEW BENDER & CO., INC.             RENEWAL OF                                               6990-00                                    $3,605.00         $716,710.55
                                28544 NETWORK PLACE                    SUBSCRIPTION, INVOICE
                                CHICAGO, IL 60673-1285                 #94605637
                                                                                                                                                                                                        Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 23 of 77 Page ID




55
                                                                               Page Subtotals:                                                             $0.00           $7,627.11
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX6623
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Perioa Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                  5                   6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                       l$)
   08/23/i7           5079      NEXTECH                                SERVER COLOCATION                                       6990-00                                      $400.00         $716,310.55
                                2030 E. 4TH STREET                     SERVICES FOR JULY AND
                                SUITE 156                              AUGUST 2017, INVOICE #S
                                SANTA ANA, CA 92705-3940               4177 AND 4220
   08/25/17                     Union Bank                              Bank Service Fee under 11                              2600-00                                   $1,071.98          $715,238.57
                                                                       U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   08/30/17           5080      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80         $715,152.77
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #494006
                                COMMERCE, CA 90040


   09!06/17           5081      NEXTECH                                 SERVER COLOCATION                                      6990-00                                      $200.00         $714,952.77
                                2030 E. 4TH STREET                      SERVICES FOR SEPTEMBER
                                SUITE 156
                                                                                                                                                                                                                                        #:4405




                                                                        2017, INVOICE #4264
                                SANTA ANA, CA 92705-3940
   09/11/17           5082      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80         $714,866.97
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #497281
                                COMMERCE, CA 90040


  09/25/17                      Union Bank                             Bank Service Fee under 11                               2600-00                                   $1,065.92          X713,801.05
                                                                       U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   10/09/17           5083      NEXTECH                                SERVER COLOCATION                                       6990-00                                      $200.00         $713,601.05
                                2030 E. 4TH STREET                     SERVICES FOR OCTOBER
                                SUITE 156                              2017, INVOICE #4301
                                SANTA ANA, CA 92705-3940
   10/10/17           5084      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80         $713,515.25
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #500537
                                COMMERCE, CA 90040


   10/17/17           5085      FRANCHISE TAX BOARD                     2017 FORM 541-ES, FEIN 90-                             2820-00                                      $800.00         $712,715.25
                                P.O. BOX 942867                         0760295
                                SACRAMENTO, CA 94267-0008
   10/25/17
                                                                                                                                                                                                      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 24 of 77 Page ID




                                Union Bank                             Bank Service Fee under 11                               2600-00                                   $1,028.27          $711,686.98
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)




56
                                                                               Page Subtotals:                                                           $0.00           $5,023.57
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX6623
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1               2                           3                                             4                                                   5                    6                   7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction                Uniform Tran.    Deposits ($)       Disbursements ($)  AccounUCD Balance
                    Reference                                                                                                      Code                                                      l$)
   1 1/07/17          5086      NEXTECH                                 SERVER COLOCATION                                       6990-00                                       $200.00       $711,486.98
                                2030 E. 4TH STREET                      SERVICES FOR NOVEMBER
                                SUITE 156                               2017, INVOICE #4342
                                SANTA ANA, CA 92705-3940
   1 1/07/17          5087      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                        $85.80       $711,401.18
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #503875
                                COMMERCE, CA 90040


   1 1/20/17                    UNITED STATES TREASURY                  REFUND OF PHOTOCOPY                                     6410-00                                       ($50.00)      $711,451.18
                                                                        REQUEST FEE
                                                                        PAID BY ACCOUNTANT
   1 1/27/17                    Union Bank                             Bank Service Fee under 11                                2600-00                                    $1,060.01        $710,391.17
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                                                                                                                                                                                      #:4406




                                                                       (1), and 507(a)(2)
   1 2/04/17                    STATE OF CALIFORNIA                     2015 TAX REFUND FOR QSF                                 1224-00                  $831.32                            $711,222.49

   1 2/11/17          5088      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                        $85.80       $711,136.69
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #507227
                                COMMERCE, CA 90040


   1 2/26/17                    Union Bank                              Bank Service Fee under 11                               2600-00                                    $1,023.19        $710,113.50
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  01!08/18            5089      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                        $85.80       $710,027.70
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #510514
                                COMMERCE, CA 90040


  01/08/18            5090      NEXTECH                                 SERVER COLOCATION                                       6990-00                                       $200.00      5709,827.70
                                2030 E. 4TH STREET                      SERVICES FOR JANUARY
                                SUITE 156                               2018, INVOICE #4434
                                SANTA ANA, CA 92705-3940
  01/25/18                      Union Bank                              Ban!< Service Fee under 11                              2600-00                                    $1,056.56       $708,771.14
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 25 of 77 Page ID




                                                                       (1), and 507(a)(2)




57
                                                                               Page Subtotals:                                                           $831.32           $3,747.16
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                               Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX6623
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             Q                                                 5                    6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)    AccounUCD Balance
                    Reference                                                                                                     Code                                                       ~$)
   02/16/'(8          5091      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80         $708,685.34
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #514439
                                COMMERCE, CA 90040


   02/16/18           5092      NEXTECH                                 SERVER COLOCATION                                      6990-00                                      $200.00         $708,485.34
                                2030 E. 4TH STREET                      SERVICES FOR FEBRUARY
                                SUITE 156                               2018, INVOICE #4434
                                SANTA ANA, CA 92705-3940
   02/26/18                     Union Bank                             Bank Service Fee under 11                               2600-00                                   $1,054.85          $707,430.49
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   03/08/18           5093      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80         X707,344.69
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #517198
                                COMMERCE, CA 90040
                                                                                                                                                                                                                                       #:4407




   03/09/1.8          5094      NEXTECH                                 SERVER COLOCATION                                      6990-00                                      $200.00         $707,144.69
                                2030 E. 4TH STREET                      SERVICES FOR MARCH
                                SUITE 156                               2018, INVOICE #4434
                                SANTA ANA, CA 92705-3940
   03/26/18                     Union Bank                              Bank Service Fee under 11                              2600-00                                      $951.32         $706,193.37
                                                                        U.S.C. § 330(a)(1){B), 503(b)
                                                                       (1), and 507(a)(2)
  04/12/18            5095      NEXTECH                                 SERVER COLOCATION                                      6990-00                                      X200.00         $705,993.37
                                2030 E. 4TH STREET                      SERVICES FOR APRIL 2018,
                                SUITE 156                               INVOICE #4580
                                SANTA ANA, CA 92705-3940
  04!12/18            5096      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80        $705,907.57
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #520583
                                COMMERCE, CA 90040


  04/25/18                      Union Bank                             Bank Service Fee under 11                               2600-00                                   $1,050.99         $704,856.58
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(x)(2)
                                                                                                                                                                                                     Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 26 of 77 Page ID




58
                                                                               Page Subtotals:                                                           $0.00           $3,914.56
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENT5 RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gili, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Banl< Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX6623
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                 5                    6                   7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)  Account/CD Balance
                    Reference                                                                                                     Code                                                     ($)
   05/07/18           5097      NEXTECH                                 SERVER COLOCATION                                      6990-00                                      $200.00       $704,656.58
                                2030 E. 4TH STREET                      SERVICES FOR MAY 2018,
                                SUITE 156                               INVOICE #4642
                                SANTA ANA, CA 92705-3940
   05/07/18           5098      NEXTECH                                 SERVER COLOCATION                                      6990-00                                      $200.00       $704,456.58
                                2030 E. 4TH STREET                      SERVICES FOR DECEMBER
                                SUITE 156                               2017, INVOICE #4378
                                SANTA ANA, CA 92705-3940
   05/07/18           5099      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80       $704,370.78
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #523931
                                COMMERCE, CA 90040


   05/09/18           5100      CORPORATE STOCK TRANSFER                STOCK TRANSFER FEE RE                                 2990      -00                                 $140.00       X704,230.78
                                3200 CHERRY CREEK DR. S., SUITE         RECOVERY/UNIVERSAL
                                                                                                                                                                                                                                     #:4408




                                430                                     STOCK TO LILTS STOCK
                                DENVER, CO 80209
   05/25/18                     Union Bank                              Bank Service Fee under 11                              2600-00                                   S1,015.26        $703,215.52
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   06/11/18           5101      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                       $85.80       $703,129.72
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #527551
                                COMMERCE, CA 90040


  06/25/18                      Union Bank                              Bank Service Fee under 11                              2600-00                                   $1,046.90        $702,082.82
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  07/12/18            5102      FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990-00                                      $85.80        $701,997.02
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #530524
                                COMMERCE, CA 90040


  07/25/18                      Union Bank                              Bank Service Fee under 11                              2600-00                                   $1,011.10        $700,985.92
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
                                                                                                                                                                                                   Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 27 of 77 Page ID




59
                                                                               Page Subtotals:                                                           $0.00           $3,870.66
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                 Bank Name: Union Bank
                                                                                                              Account Number/CD#: XXXXXX6623
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1               2                           3                                             4                                                  5                   6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction                Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                       ~$~
   08/07/18           5103      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                      $85.80         $700,900.12
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #533923
                                COMMERCE, CA 90040


   08/13/18           5104      NETWORK SOLUTIONS                       PROFESSIONAL HOSTING                                    6990-00                                     $175.45         $700,724.67
                                ATTN: ACCOUNTS RECEIVABLE               FOR
                                WEB.COM GROUP, INC.                     WESTMOORERECEIVERHIP.
                                P.O. BOX 865079                         COM (1 YEAR RENEWAL),
                                ORLANDO, FL 32886-5079                  ACCOUNT #33191952

   08/27/18                     Union Bank                             Bank Service Fee under 11                                2600-00                                  $1,043.10          $699,681.57
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  08/30/18            5105
                                                                                                                                                                                                                                        #:4409




                                MATTHEW BENDER & CO., INC.              RENEWAL OF                                              6990-00                                  $4,038.00          $695,643.57
                                28544 NETWORK PLACE                     SUBSCRIPTION, INVOICE
                                CHICAGO, IL 60673-1285                  #04263731
  09/13/18            5106      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                      $85.80         $695,557.77
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #537274
                                COMMERCE, CA 90040


  09/13/18            5107      NEXTECH                                SERVER COLOCATION                                        6990-00                                     $800.00         $694,757.77
                                2030 E. 4TH STREET                     SERVICES FOR JUNE, JULY,
                                SUITE 156                              AUGUST AND SEPTEMBER
                                SANTA ANA, CA 92705-3940               2018, INVOICE #4691, 4732,
                                                                       4769, AND 4837
  09/25/18                      Union Bank                              Bank Service Fee under 11                               2600-00                                  $1,041.46          $693,716.31
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   1 0/10/18          5108      FILE KEEPERS LLC                        MONTHLY STORAGE                                         6990-00                                      $85.80         $693,630.51
                                6277 E. SLAUSON AVE.                    CHARGES, INVOICE #540571
                                COMMERCE, CA 90040                      ACCOUNT #4140


   10/25/18                     Union Bank                              Bank Service Fee under 11                               2600-00                                  $1,001.59          $692,628.92
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                                                                                                                                                      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 28 of 77 Page ID




                                                                       (1), and 507(x)(2)




60
                                                                               Page Subtotals:                                                           $0.00           $8,357.00
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                 Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX6623
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                 5                    6                   7
Transaction Date    Check or              Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)  Account/CD Balance
                    Reference                                                                                                      Code                                                     ($)
   1 1/09/18          5109      FILE KEEPERS LLC                         MONTHLY STORAGE                                        6990-00                                       $85.80       $692,543.12
                                6277 E. SLAUSON AVE.                     CHARGES, INVOICE #544035
                                COMMERCE, CA 90040                       ACCOUNT #4140


   1 2/04/18                    Union Bank                               Reversal of bank service                               2600-00                                 ($1,041.46)        $693,584.58
                                1980 Saturn Street                       charge
                                Monterey Park, CA 91755                  September 2018
   1 2/04/18                    Union Bank                               Reversal of bank service                               2600-00                                 ($1,001.59)        $694,586.17
                                1980 Saturn Street                       charge
                                Monterey Park, CA 91755                  October 2018
   1 2/07/18          5110      FILE KEEPERS LLC                         MONTHLY STORAGE                                        6990-00                                       $85.80       $694,500.37
                                6277 E. SLAUSON AVE.                     CHARGES, INVOICE #547333
                                COMMERCE, CA 90040                       ACCOUNT #4140
                                                                                                                                                                                                                                      #:4410




   1 2/07/18          5111      NEXTECH                                  SERVER COLOCATION                                      6990-00                                      $200.00       $694,300.37
                                202 FASHION LANE, SUITE 115              SERVICES FOR DECEMBER,
                                TUSTIN, CA 92780                         2018, INVOICE #5045
   1 2/13/18          5112      DAVID A. GILL                            RECEIVER FEES PER                                    6101       -00                             $15,022.91        $679,277.46
                                1900 Avenue of the Stars, 11th Floor     ORDER
                                Los Angeles, CA 90067-4402
   1 2/13/i8          5113      DAVID A. GILL                            RECEIVER EXPENSES PER                                  6102-00                                      $478.57       $678,798.89
                                1900 Avenue of the Stars, 11th Floor     ORDER
                                Los Angeles, CA 90067-4402
   12/1 3/18          5114      DANNING GILL DIAMOND & KOLLITZ   ATTORNEYS FOR RECEIVER                                         6110-00                                $261,125.67         $417,673.22
                                LLP                              FEES PER ORDER
                                1900 AVE OF THE STARS,11TH FLLOS
                                ANGELES, CA 90067
   1 2/13/18          5115      DANNING GILL DIAMOND & KOLLITZ   ATTORNEYS FOR RECEIVER                                         6120-00                                   $2,049.88        $415,623.34
                                LLP                              EXPENSES PER ORDER
                                1900 AVE OF THE STARS,11TH FLLOS
                                ANGELES, CA 90067
  01/10/19            5116      FILE KEEPERS LLC                        FINAL JANUARY, 2019                                     6990-00                                   $2,121.30        $413,502.04
                                6277 E. SLAUSON AVE.                    STORAGE CHARGES AND
                                COMMERCE, CA 90040                      DESTRUCTION CHARGES,
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 29 of 77 Page ID




                                ATTN: BILLING                           INVOICE #10919 ACCOUNT
                                                                        #4140




61
                                                                                Page Subtotals:                                                           $0.00        $279,126.88
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX6623
                                                                                                                                       GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                          3                                            4                                                     5                    6                   7
Transaction Date    Check or             Paid To /Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)  Account/CD Balance
                    Reference                                                                                                      Code                                                       ($)
   03/12/19           5117      FRANCHISE TAX BOARD                     2019 FORM 541-ES, FEIN 90-                               2820-00                                       $800.00       $412,702.04
                                P.O. BOX 942867                         0760295
                                SACRAMENTO, CA 94267-0008
   03/25/19                     Transfer from Acct # xxxxxx6747         Transfer of Funds                                        9999-00              $50,000.00                             $462,702.04

   03/25/?9           5118      CROWE LLP                               ACCOUNTANTS FOR                                        6410    -00                               $410,958.23           $51,743.81
                                ATTN: DANA CO~FESCU                     RECEIVER -FEES PER
                                400 CAPITOL MALL, SUITE 1400            ORDER ENTERED MARCH
                                SACRAMENTO, CA 95814                    18, 2019
   03/25/i9           5119      CROWE LLP                               ACCOUNTANTS FOR                                          6420-00                                       $735.86         $51,007.95
                                ATTN: DANA COLFESCU                     RECEIVER -EXPENSES PER
                                400 CAPITOL MALL, SUITE 1400            ORDER ENTERED 3/18/19
                                SACRAMENTO, CA 95814
                                                                                                                                                                                                                                        #:4411




                                                                                                        COLUMN TOTALS                             $1,902,141.24        $1,851,133.29
                                                                                                                 Less: Bank Transfers/CD's        $1,151,309.92                  $0.00
                                                                                                        Subtotal                                    $750,831.32        $1,851,133.29
                                                                                                               Less: Payments to Debtors                    $0.00                $0.00
                                                                                                         Net                                        $750,831.32         X1,851,133.29
                                                                                                                                                                                                      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 30 of 77 Page ID




62
                                                                              Page Subtotals:                                                        $50,000.00          $412,494.09
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Union Bank
                                                                                                               Account Number/CD#: XXXXXX6747
                                                                                                                                       EXPERT WITNESS FEES
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                          3                                            4                                                     5                    6                     7
Transaction Date    Check or             Paid To /Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ($)
   03/27/i5                     Transfer from Acct # xxxxxx5919         Transfer of Funds                                        9999-00              $50,000.00                                $50,000.00

   03/25/i9                     Transfer to Acct # xxxxxx6623           Transfer of Funds                                        9999-00                                   $50,000.00                $0.00



                                                                                                        COLUMN TOTALS                                 550,000.00           $50,000.00
                                                                                                                 Less: Bank Transfers/CD's            $50,000.00           $50,000.00
                                                                                                        Subtotal                                            S0.00                $0.00
                                                                                                               Less: Payments to Debtors                    $0.00                $0.00
                                                                                                         Net                                                $0.00                $0.00
                                                                                                                                                                                                                                          #:4412
                                                                                                                                                                                                        Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 31 of 77 Page ID




63
                                                                              Page Subtotals:                                                        $50,000.00           $50,000.00
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                        Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                               Bank Name: Associated Bank
                                                                                                             Account Number/CD#: XXXXXX4938
                                                                                                                                       GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                          3                                            4                                                 5                    6                     7
Transaction Date    Check or             Paid To /Received From                     Description of Transaction               Uniform Tran.    Deposits (~)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                        l$)
   09/27/12                     Trsf In From BANK OF AMERICA, N.A.      INITIAL WIRE TRANSFER IN                              9999-00           $187,923.59                                $187,923.59

   09/27/12                     Transfer from Acct # XXXXXX1698         Bank Funds Transfer                                   9999-00           $185,612.03                                $373,535.62

   10/16/i2                     Associated Bank                         BANK SERVICE FEE                                      2600-00                                       $23.03         $373,512.59

   1 1/01/12         100001     REMINGTON MOVING &STORAGE               STORAGE CHARGES                                       6990-00                                      $790.00         $372,722.59
                                14501 S BROADWAYGARDENA, CA             OCTOBER AND NOVEMBER
                                90248                                   2012
                                                                        I NVOICE NO 2964
   1 1/05/'i2                   Associated Bank                         BANK SERVICE FEE                                      2600-00                                      $237.93         $372,484.66

   1 2/04/12         100002     REMINGTON MOVING &STORAGE               STORAGE CHARGES                                       6990-00                                      $395.00         $372,089.66
                                14501 S BROADWAYGARDENA, CA             DECEMBER 2012
                                                                                                                                                                                                                                       #:4413




                                90248                                   INVOICE NO 3010
   1 2/07/12                    Associated Bank                         BANK SERVICE FEE                                      2600-00                                      $229.71         $371,859.95

   01/08/13                     Associated Bank                         BANK SERVICE FEE                                      2600-00                                      $236.94         $371,623.01

   01/11/'i3         100003     REMINGTON MOVING &STORAGE               STORAGE CHARGES                                       6990-00                                      $395.00         $371,228.01
                                1 4501 S BROADWAYGARDENA, CA            JANUARY 2013
                                90248                                   INVOICE NO 3045
   02/06/13          100004     REMINGTON MOVING &STORAGE               STORAGE CHARGES                                       6990-00                                      $395.00         $370,833.01
                                14501 S BROADWAYGARDENA, CA             FEBRUARY 2013
                                90248                                   INVOICE NO 3079
   02/07/13                     Associated Bank                         BANK SERVICE FEE                                      2600-00                                      $559.51         $370,273.50

   02/1 1/13            1       FIDELITY NATIONAL TITLE COMPANY         FUNDS HELD IN ESCROW                                  1290-00                 $995.25                              $371,268.75

  03/01/?3           100005     REMINGTON MOVING &STORAGE               STORAGE CHARGES                                       6990-00                                      $395.00         $370,873.75
                                1 4501 S BROADWAYGARDENA, CA            MARCH 2013
                                90248                                   INVOICE NO 3116
  03/07/i3                      Associated Bank                         BANK SERVICE FEE                                      2600-00                                      $505.10         $370,368.65
                                                                                                                                                                                                     Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 32 of 77 Page ID




64
                                                                              Page Subtotals:                                                   $374,530.87             $4,162.22
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                           Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Associated Bank
                                                                                                                 Account Number/CD#: XXXXXX4938
                                                                                                                                       GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                          3                                            4                                                    5                   6                     7
Transaction Date    Check or             Paid To I Received From                    Description of Transaction                Uniform Tran.
                    Reference                                                                                                                    Deposits ($)     Disbursements ($)    Account/CD Balance
                                                                                                                                  Code                                                        ($)
   03/26/13          100006     REMINGTON MOVING &STORAGE                CHARGES FOR PICKUP OF                                  6990-00                                      $300.00         $370,068.65
                                14501 S BROADWAYGARDENA, CA              RECORDS
                                90248                                    FROM AGUA DULCE,
                                                                         CALIFORNIA
                                                                         I NVOICE NO 3126
  03/27/13           100007     FRANCHISE TAX BOARD                      2012 FTB 3563 (541) FORM                               2820-00                                      $800.00         $369,268.65
                                P O BOX 942867SACRAMENTO, CA             FEIN XX-XXXXXXX
                                94267-0008
  03/27/13           100008     FRANCHISE TAX BOARD                      2013 FORM 541-ES                                       2820-00                                      $800.00         $368,468.65
                                P O BOX 942867SACRAMENTO, CA             FEIN XX-XXXXXXX
                                94267-0008
  04/04/1 3          100009     REMINGTON MOVING &STORAGE                APRIL STORAGE CHARGES                                 6990-00                                       $395.00         $368,073.65
                                14501 S BROADWAYGARDENA, CA              INVOICE # 3126
                                90248
                                                                                                                                                                                                                                        #:4414




  04/05/'13                     Associated Bank                          BANK SERVICE FEE                                      2600-00                                       $550.66         $367,522.99

  04/08(13                      ASSOCIATED BANK                          BANK SERVICE FEE                                      2600-00                                         $6.76         $367,516.23

  05/01/13           100010     REMINGTON MOVING &STORAGE               MAY STORAGE CHARGES                                    6990-00                                       $395.00         X367,121.23
                                14501 S BROADWAYGARDENA, CA             INVOICE # 3175
                                90248
  05/07/13                      Associated Bank                         BANK SERVICE FEE                                       2600-00                                       $535.77         $366,585.46

  06/03/13           100011     REMINGTON MOVING &STORAGE               JUNE STORAGE CHARGES                                   6990-00                                       $395.00        $366,190.46
                                14501 S BROADWAYGARDENA, CA             INVOICE # 3126
                                90248                                   JUNE STORAGE CHARGES
  06/07/13                      Associated Bank                         BANK SERVICE FEE                                       2600-00                                       $552.25        $365,638.21

  07/02/1 3          100012     REMINGTON MOVING &STORAGE               JULYSTORAGE CHARGES                                    6990-00                                       $465.00        $365,173.21
                                14501 S BROADWAYGARDENA, CA             INVOICE # 3245
                                90248                                   JULY STORAGE CHARGES
                                                                        AND ACCESS FEE (2)
  07/08/13                      Associated Bank                         BANK SERVICE FEE                                       2600-00                                       $533.07        $364,640.14

  07/17/13          100013      PCG CONSULTANTS, INC              FORENSIC ANALYST                                             6700-00                                  $59,350.82          $305,289.32
                                                                                                                                                                                                      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 33 of 77 Page ID




                                P O BOX 1439COEUR D'ALENEID 83816 FOR SERVICES RENDERED
                                                                  AS FORENSIC ANALYST AND
                                                                  I NVESTIGATOR




65
                                                                              Page Subtotals:                                                             X0.00         $65,079.33
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                       Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                              Bank Name: Associated Bank
                                                                                                            Account Number/CD#: XXXXXX4938
                                                                                                                                      GENERAL ACCOUNT
  Taxpayer lD No: XX-XXX0295                                                                         Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                       Separate Bond (if applicable):


       1                2                          3                                            4                                                5                   6                     7
Transaction Date    Check or             Paid To /Received From                    Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                       ~$~
   08/07/13                     Associated Bank                         BANK SERVICE FEE                                     2600-00                                     $516.71         $304,772.61

   08/26/13          100014     REMINGTON MOVING &STORAGE               AUGUST STORAGE                                       6990-00                                     $395.00         $304,377.61
                                14501 S BROADWAYGARDENA, CA             CHARGES
                                90248                                   INVOICE # 3280
  08/30/13           100015     LEXISNEXIS                              2 YR LICENSE                                         6990-00                                  $5,622.00          $298,755.61
                                P O BOX 7247-0178PHILADELPHIA, PA       FOR CONCORDANCE
                                19170-0178                              QUOTE SCSL-DGDKY2
  09/09/13           100016     FRANCHISE TAX BOARD                     FORM 541 -PERIOD ENDING                              2820-00                                     $800.00         $297,955.61
                                P O BOX 842840SACRAMENTO, CA            12/31/2011
                                94240-0002                              FEIN XX-XXXXXXX
  09/09/13           100017     FRANCHISE TAX BOARD                     FORM 541 -PERIOD ENDING                              2820-00                                     $800.00         $297,155.61
                                P O BOX 842840SACRAMENTO, CA            12/31/2012
                                94240-0002                              FEIN XX-XXXXXXX
                                                                                                                                                                                                                                    #:4415




  09/09/'13                     Associated Bank                         BANK SERVICE FEE                                     2600-00                                     $459.79         $296,695.82

  09!13/13           100018     LA FULL SERVICE STORAGE LLC             COSTS FOR MOVING                                     6990-00                                     $280.00         $296,415.82
                                14501 S BROADWAYGARDENA, CA             BOXES FROM ONE UNIT TO
                                90248                                   THE OTHER AND
                                                                        ARRANGING THEM
                                                                        8 HRS X X35.00 PER HOUR
  09/13/13           100019     LA FULL SERVICE STORAGE LLC             MONTHLY STORAGE                                      6990-00                                     $860.00         X295,555.82
                                14501 S BROADWAYGARDENA, CA             SEPTEMBER 2013
                                90248
  09/26/13           100020     LA FULL SERVICE STORAGE LLC             CHARGE FOR REBORING                                  6990-00                                     ~111.2~         $295,444.57
                                14501 S BROADWAYGARDENA, CA             LABOR
                                90248                                   2 HRS X $35.00 PER HOUR
                                                                        A ND 11 BOXES AT $3.75 PER
                                                                        BOX
                                                                        I NVOICE NO 1056
   10/01/13          100021     LA FULL SERVICE STORAGE LLC             MONTHLY STORAGE                                      6990-00                                     $860.00         $294,584.57
                                14501 S BROADWAYGARDENA, CA             OCTOBER 2013
                                90248                                   INVOICE #1054
  10/07/i3                      Associated Bank                         BANK SERVICE FEE                                     2600-00                                     $432.26         $294,152.31

  10/18/.3             8        MKA REAL ESTATE QUALIFIED FUND          DISTRIBUTION FROM MKA                                1223-00
                                                                                                                                                                                                  Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 34 of 77 Page ID




                                                                                                                                                  $5,499.62                              $299,651.93
                                                                        REAL ESTATE




66
                                                                              Page Subtotals:                                                     $5,499.62         $11,137.01
                                                                                     FORM 2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                       Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                            Bank Name: Associated Bank
                                                                                                           Account Number/CD#: XXXXXX4938
                                                                                                                                      GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                        Blanket Bond (per case l imit):
For Period Ending: 06/17/2019                                                                      Separate Bond (if applicable):


       1                2                         3                                           4                                                  5                    6                     7
Transaction Date    Check or            Paid To /Received From                    Description of Transaction               Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                  Code                                                         ~~)
   10/25/13                     STATE OF CALIFORNIA                    REFUND OF OVERPAYMENT                                 2820-00                                   ($800.00)          $300,451.93
                                                                       RE 2012 TAX
   10/31/13          100022     PCG CONSULTANTS, INC              FORENSIC ANALYST                                           6700-00                                  $24,222.00          $276,229.93
                                P O BOX 1439COEUR D'ALENEID 83816 FOR SERVICES RENDERED
                                                                  AS FORENSIC ANALYST AND
                                                                  I NVESTIGATOR
   10/31/13          100023     PCG CONSULTANTS, INC              FORENSIC ANALYST                                         6710       -00                              $1,164.76          $275,065.17
                                P O BOX 1439COEUR D'ALENEID 83816 FOR SERVICES RENDERED
                                                                  AS FORENSIC ANALYST AND
                                                                  I NVESTIGATOR
   1 1/01/13         100024     LA FULL SERVICE STORAGE LLC       MONTHLY STORAGE                                            6990-00                                      $860.00         $274,205.17
                                14501 S BROADWAYGARDENA, CA       NOVEMBER 2013
                                90248                             INVOICE #1073
   1 1/07/13                    Associated Bank                   BANK SERVICE FEE                                           2600-00                                      $453.95         $273,751.22
                                                                                                                                                                                                                                     #:4416




   1 1/19/13           9        LAW OFFICE OF JOSEPH M ALIBERTI        DISCOVERY EXPENSE                                     1249-00                 $340.00                              $274,091.22
                                                                       RE GILL V. BUCK BLESSING
   1 1/22/13           9        STEVEN & TRACI GOODRICH                DISCOVERY EXPENSE                                     1249-00                 $340.00                              $274,431.22
                                                                       RE GILL V. BUCK BLESSING
   1 1/26/i3           11       CARSON BERG & PERKINS PLC              A/R SETTLEMENT RE HW                                  1249-00            $50,000.00                                $324,431.22
                                                                       PARTNERS,LLC
   1 1/26/13           10       CONFIDENTIAL SETTLEMENT               BANK WIRE RE                                           1249-00            $75,000.00                                $399,431.22
                                                                      SETTLEMENT
                                                                      WITH FORMER
                                                                      PROFESSIONALS OF
                                                                      WESTMOORE
   1 1/26/13           10       CONFIDENTIAL SETTLEMENT               BANK WIRE RE                                           1249-00            $60,000.00                                $459,431.22
                                                                      SETTLEMENT WITH
                                                                      FORMER PROFESSIONALS
                                                                      OF WESTMOORE
   1 1/27/13           9        OLSHANSKY                             REIMBURSEMENT OF                                       1249-00                 $340.00                             $459,771.22
                                                                      DISCOVERY EXPENSE
  1 2/04/13          100025     LA FULL SERVICE STORAGE LLC           MONTHLY STORAGE                                       6990-00                                       $860.00         $458,911.22
                                14501 S BROADWAYGARDENA, CA           DECEMBER 2013
                                90248                                 INVOICE #1087
                                                                                                                                                                                                   Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 35 of 77 Page ID




67
                                                                            Page Subtotals:                                                    $186,020.00           $26,760.71
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                        Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                               Bank Name: Associated Bank
                                                                                                             Account Number/CD#: XXXXXX4938
                                                                                                                                       GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/1 7/2019                                                                       Separate Bond (if applicable):


       1                2                           3                                            4                                                5                    6                     7
Transaction Date    Check or              Paid To /Received From                    Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)    AccountlCD Balance
                    Reference                                                                                                    Code                                                        ~~~
   1 2/04/13         100026      LA FULL SERVICE STORAGE LLC             CHARGE FOR PERSONNEL                                 6990-00                                      $160.00         $458,751.22
                                 14501 S BROADWAYGARDENA, CA             TO SIT WITH PARTIES WHILE
                                 90248                                   DOCUMENT REVEIW IS ON-
                                                                         GOING
                                                                         8 HRS @ $20.00 PER HOUR
                                                                         FOR 11/26/2013
   1 2/05/13            9        CELIA CALCO CRAWFORD                    REIMBURSEMENT                                        1249-00                 $340.00                              $459,091.22
                                                                         OF DISCOVERY EXPENSE
   1 2/05/13         100027      CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                              6210      -00                             $27,199.90          $431,891.32
                                 BANK OF AMERICA PLAZA, STE              FEE
                                 1020300 CONVENT STREETSAN               ON INITIAL SETTLEMENT
                                 ANTONIO, TX 78204-3789                  PAYMENTS AND
                                                                         CONTINGENCY FEE ON
                                                                         NOVEMBER &DECEMBER
                                                                         PAYMENTS
                                                                                                                                                                                                                                       #:4417




   1 2/05/13         100028      CASTILLO SNYDER, A PROF CORP            REIMBURSEMENT OF                                     6220-00                                   $1,200.42          $430,690.90
                                 BANK OF AMERICA PLAZA, STE              COSTS
                                 1020300 CONVENT STREETSAN               RELATING TO CONFIDENTIAL
                                 ANTONIO, TX 78204-3789                  SETTLEMENT
   1 2/05/3          100029      JOAQUIN DE TERESA                       REIMBURSEMENT                                        6990-00                                  $49,479.90          $381,211.00
                                 c/o CASTILLO SNYDER, A PROF             $25.000 FOR LEGAL FEES
                                 CORPBANK OF AMERICA PLAZA, STE          PAID TO CASTILLO SNYDER
                                 1020300 CONVENT STREETSAN               $22,229.90 SHARE OF INITIAL
                                 ANTONIO, TX 78205-3789                  CONFIDENTIAL
                                                                         SETTLEMENT PAYMENT
                                                                         RECEIVED
                                                                         52,500.00 FOR HIS SHARE
                                                                         OF THE NOVEMBER AND
                                                                         DECEMBER SETTLEMENT
                                                                         RELATING TO CONFIDENTAL
                                                                         SETTLEMENT
   1 2/06/13                     Associated Bank                         BANK SERVICE FEE                                     2600-00                                      $452.08         X380,758.92

   1 2/10/13           9         DIANE MARIE BRAUN                       REIMBURSEMENT                                        1249-00                 X340.00                              $381,098.92
                                                                         OF DISCOVERY EXPENSES
   1 2/24/13         100030      LA FULL SERVICE STORAGE LLC             COPY SERVICES                                        6990-00                                      $172.00         $380,926.92
                                 14501 S BROADWAYGARDENA, CA             4 HRS @ $20.00 PER HOUR
                                                                                                                                                                                                     Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 36 of 77 Page ID




                                 90248                                   PLUS COPY COSTS
                                                                         I NVOICE NO 1095




68
                                                                               Page Subtotals:                                                        $680.00          $78,664.30
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                      Trustee Name: David A. Giil, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                             Bank Name: Associated Bank
                                                                                                           Account Number/CD#: XXXXXX4938
                                                                                                                                     GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                        Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                      Separate Bontl (if applicable):


       1                2                          3                                           4                                                 5                    6                     7
Transaction Date    Check or             Paid To /Received From                   Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)    AccountlCD Balance
                    Reference                                                                                                  Code                                                         C$)
   1 2/31/13         100031     LA FULL SERVICE STORAGE LLC             CHARGE FOR PERSONNEL                                6990-00                                       $160.00         $380,766.92
                                14501 S BROADWAYGARDENA, CA             TO SIT WITH PARTIES WHILE
                                90248                                   DOCUMENT REVEIW IS ON-
                                                                        GOING
                                                                        8 HRS @ $20.00 PER HOUR
                                                                        FOR 11/26/2013
                                                                        I NVOICE # 1099
   01/07/14            10       CONFIDENTIAL SETTLEMENT                 BANK WIRE RE                                        1249-00              $5,000.00                                $385,766.92
                                                                        SETTLEMENT WITH
                                                                        FORMER PROFESSIONALS
                                                                        OF WESTMOORE
   01/08/14                     Associated Bank                         BANK SERVICE FEE                                    2600-00                                       $633.85         $385,133.07

   01/14/14             9       CORDON & REES, LLP                      REIMBURSMENT OF                                     1249-00                  $340.00                              $385,473.07
                                                                                                                                                                                                                                      #:4418




                                                                        DISCOVERY
                                                                        EXPENSE
   01/14/14          100032     LA FULL SERVICE STORAGE LLC             MONTHLY STORAGE                                     6990-00                                       $860.00         $384,613.07
                                14501 S BROADWAYGARDENA, CA             INVOICE #1108
                                90248
   01/23/14          100033     JOAQUIN DE TERESA                       SHARE OF JANUARY 2014                               6990-00                                    $1,125.00          S383,488.07
                                c/o CASTILLO SNYDER, A PROF             SETTLEMENT
                                CORPBANK OF AMERICA PLAZA, STE          PAYMENT RELATING TO
                                1020300 CONVENT STREETSAN               CONFIDENTAL SETTLEMENT
                                ANTONIO, TX 78205-3789
   01/23/14          100034     CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                            6210       -00                               $1,250.00          $382,238.07
                                BANK OF AMERICA PLAZA, STE              FEE
                                1020300 CONVENT STREETSAN               ON JANUARY 2014
                                ANTONIO, TX 78204-3789                  SETTLEMENT PAYMENT
                                                                        RELATING TO CONFIDENTAL
                                                                        SETTLEMENT
   01/24/14            10       CONFIDENTIAL SETTLEMENT                 FEBRUARY PAYMENT                                    1249-00              $5,000.00                                $387,238.07
                                                                        BANK WIRE RE
                                                                        SETTLEMENT WITH
                                                                        FORMER PROFESSIONALS
                                                                        OFWESTMOORE
  01/30/14             9        CZECH &HOWELL, APC                      REIMBURSEMENT                                       1249-00                  $340.00                              $387,578.07
                                                                        OF DISCOVERY EXPENSE
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 37 of 77 Page ID




69
                                                                             Page Subtotals:                                                    $10,680.00             $4,028.85
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBUF2SEMENTS RECORD
           Case No: 10-00849                                                                                          Trustee Name: David A. Gili, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Associated Bank
                                                                                                              Account Number/CD#: XXXXXX4938
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                             4                                                  5                    6                   7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.     Deposits ($)      Disbursements ($)  Account/CD Balance
                    Reference                                                                                                     Code                                                       l$)
   02/03/14          100035     LA FULL SERVICE STORAGE LAC             MONTHLY STORAGE                                        6990-00                                       $860.00       $386,718.07
                                14501 S BROADWAYGARDENA, CA             INVOICE #1054
                                90248
   02/07/i4                     Associated Bank                         BANK SERVICE FEE                                       2600-00                                       $581.46       $386,136.61

   02/20!14            10       CONFIDENTIAL SETTLEMENT                 MARCH PAYMENT                                          1249-00               $5,000.00                             $391,136.61
                                                                        SETTLEMENT WITH
                                                                        FORMER PROFESSIONALS
                                                                        OF WESTMOORE
   02/20/14            13       SETTLEMENT WITH GOODRICH                SETTLEMENT                                             1249-00              $10,000.00                             $401,136.61

   02/25/14            9        THE GIMINO LAW OFFICE                   REIMBURSEMENT OF                                       1249-00                  $340.00                            $401,476.61
                                                                        DISCOVERY
                                                                        EXPENSE
                                                                                                                                                                                                                                      #:4419




   02/27/14                     Transfer from Acct # XXXXXX5208         Transfer of Funds Per Melvin                           9999-00               $4,972.21                             S406,448.82

   02/27/14            14       GRIFFIS BLESSING, INC.                  SETTLEMENT RE GRIFFIS                                  1249-00              $10,000.00                             $416,448.82
                                                                        BLESSING, INC
  02/27/14             15       ASSOCIATES WINERY LLC                   SETTLEMENT WITH                                        1249-00              $90,000.00                             $506,448.82
                                                                        ASSOCIATES
                                                                        WINERY LLC
  02/28/14           100039     Reverses Check # 100039                 RECEIVERS FEES                                       6101       -00                             ($9,154.04)        5515,602.86
                                                                        I NCORRECT PAYEE
  02/28/14           100040     Reverses Check # 100040                 RECEIVERS EXP                                          6102-00                                    ($911.84)        $516,514.70
                                                                        I NCORRECT PAYEE
  02/28/14           100036     CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                               6210       -00                              $20,800.03        $495,714.67
                                BANK OF AMERICA PLAZA, STE              FEE
                                1020300 CONVENT STREETSAN               ON JANUARY 2014,
                                ANTONIO, TX 78204-3789                  FEBRUARY 20, 2014
                                                                        SETTLEMENT PAYMENTS
                                                                        RELATING TO CONFIDENTAL
                                                                        SETTLEMENT
                                                                        AND BLESSINGNV2
                                                                        I NVESTMENTS SETTLEMENT
                                                                        RECEIVED 2/27/2014
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 38 of 77 Page ID




70
                                                                               Page Subtotals:                                                    $120,312.21           512,175.61
                                                                                     FORM 2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                        Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                              Bank Name: Associated Bank
                                                                                                              Account Number/CD#: XXXXXX4938
                                                                                                                                    GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                       Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                     Separate Bond (if applicable):


       1                2                         3                                           4                                                   5                   6                     7
Transaction Date    Check or            Paid To /Received From                   Description of Transaction                Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                  Code                                                         ~$~
   02/28/14          100037     CASTILLO SNYDER, A PROF CORP           PAYMENT OF CONTINGENCY                                6220-00                                   $1,799.87          $493,914.80
                                BANK OF AMERICA PLAZA, STE             EXP
                                1020300 CONVENT STREETSAN              ON JANUARY 2014,
                                ANTONIO, TX 78204-3789                 FEBRUARY 20, 2014
                                                                       SETTLEMENT PAYMENTS
                                                                       RELATING TO CONFIDENTAL
                                                                       SETTLEMENT
                                                                       AND BLESSING/W2
                                                                       I NVESTMENTS SETTLEMENT
                                                                       RECEIVED 2/27/2014
  02/28/14           100038     JOAQUIN DE TERESA                      REBURSEMENT OF FUNDS                                  6990-00                                  $27,250.00          $466,664.80
                                c/o CASTILLO SNYDER, A PROF            ADVANCED
                                CORPBANK OF AMERICA PLAZA, STE         FOR LITIGATION RE
                                1020300 CONVENT STREETSAN              JANUARY 24, 2014,
                                ANTONIO, TX 78205-3789                 FEBRUARY 20, 2014
                                                                                                                                                                                                                                     #:4420




                                                                       SETTLEMENT PAYMENTS
                                                                       RELATING TO CONFIDENTIAL
                                                                       SETTLEMENT AND
                                                                       BLESSING/W2
                                                                       I NVESTMENTS SETTLEMENT
                                                                       RECEIVED 2/27/2014
  02/28/14           100039     DAVID A. GILL                    RECEIVERS FEES                                            6101     -00                                $9,154.04          $457,510.76
                                1900 AVE OF THE STARS,1ITH FLLOS PER ORDER ENTERED
                                ANGELES, CA 90067                02/26/2014
  02/28/14           100040     DAVID A. GILL                    RECEIVERS EXP                                              6102-00                                       $911.84         $456,598.92
                                1900 AVE OF THE STARS,11TH FLLOS PER ORDER ENTERED
                                ANGELES, CA 90067                02/26/2014
  02/28/14           100041     CROWE HORWATH LLP                     ACCOUNTANT FOR                                       6410     -00                              $60,254.54           $396,344.38
                                P O BOX 51660LOS ANGELES, CA          RECEIVER FEES
                                90051-5960                            PER ORDER ENTERED 02-26
                                                                      -2014
  02/28/14           100042     CROWE HORWATH LLP                     ACCOUNTANT FOR                                        6420-00                                       $72.99          $396,271.39
                                P O BOX 51660LOS ANGELES, CA          RECEIVER EXP
                                90051-5960                            PER ORDER ENTERED 02-26
                                                                      -2014
  02/28/14           100043     PCG CONSULTANTS, INC                  FORENSIC ANALYST                                      6700-00                                  $99,180.60           $297,090.79
                                P O BOX 1439COEUR D'ALENE, ID         PER ORDER ENTERED 02-26
                                83816                                 -2014
                                                                                                                                                                                                   Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 39 of 77 Page ID




71
                                                                            Page Subtotals:                                                            $0.00        X198,623.88
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                      Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                             Bank Name: Associated Bank
                                                                                                           Account Number/CD#: XXXXXX4938
                                                                                                                                     GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                        Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                5                    6                 7
Transaction Date    Check or             Paid To /Received From                   Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)Account/CD Balance
                    Reference                                                                                                  Code                                                    ~$)
   02/28/14          100044     DANNING, GILL, DIAMOND & KOLLITZ ATTORNEY FOR RECEIVER                                      6110-00                                $199,424.62        $97,666.17
                                1900 AVE OF THE STARS,11TH FLLOS FEES
                                ANGELES, CA 90067                PER ORDER ENTERED 02-26
                                                                 -2014
   02/28%14          100045     DANNING, GILL, DIAMOND & KOLLITZ ATTORNEY FOR RECEIVER                                      6102-00                                   $6,001.37       $91,664.80
                                1900 AVE OF THE STARS,11TH FLLOS EXP
                                ANGELES, CA 90067                PER ORDER ENTERED 02-26
                                                                 -2014
   02/28/14          100046     DAVID A. GILL                     RECEIVERS FEES                                           6101      -00                              $9,154.04       $82,510.76
                                1 900 AVE OF THE STARS,11TH FLLOS PER ORDER ENTERED
                                ANGELES, CA 90067                 02/26/2014
   02/28/14          100047     DAVID A. GILL                    RECEIVERS EXP                                              6102-00                                      $911.84      $81,598.92
                                1900 AVE OF THE STARS,11TH FLLOS PER ORDER ENTERED
                                ANGELES, CA 90067                02/26/2014
                                                                                                                                                                                                                               #:4421




   03/05/14          100048     LA FULL SERVICE STORAGE LLC             MONTHLY STORAGE                                     6990-00                                      $860.00      $80,738.92
                                14501 S BROADWAYGARDENA, CA             INVOICE # 1166
                                90248
   03/07/14                     Associated Bank                         BANK SERVICE FEE                                    2600-00                                      $546.78      $80,192.14

   03/20/14            16       TRACY &MARK MOLENAAR                    SETTLEMENT                                          1249-00                 $500.00                           $80,692.14

   03/20/14            10       CONFIDENTIAL SETTLEMENT                 APRIL PAYMENT                                       1249-00              $5,000.00                            $85,692.14
                                                                        SETTLEMENT WITH
                                                                        FORMER PROFESSIONALS
                                                                        OF WESTMOORE
  03/25/14             10       CONFIDENTIAL SETTLEMENT                 MAY PAYMENT SETTLEMENT                              1249-00              $5,000.00                            $90,692.14
                                                                        WITH
                                                                        FORMER PROFESSIONALS
                                                                        OFWESTMOORE
  03/25/14           100049     FRANCHISE TAX BOARD                    2014 EST TAX541-ES                                   2820-00                                      $800.00      $89,892.14
                                P O BOX 842867SACRAMENTO, CA           ID XX-XXXXXXX
                                94267-0008                             PER LOCAL BK RULE 2016-2
                                                                       (b)
  04/01/14           100050     LA FULL SERVICE STORAGE LLC             MONTHLY STORAGE                                     6990-00                                      $860.00      $89,032.14
                                14501 S BROADWAYGARDENA, CA             INVOICE # 1198
                                90248
                                                                                                                                                                                             Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 40 of 77 Page ID




72
                                                                             Page Subtotals:                                                    $10,500.00         X218,558.65
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBUF~SEMENTS RECORD
           Case No: 10-00849                                                                                      Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                             Bank Name: Associated Bank
                                                                                                           Account Number/CD#: XXXXXX4938
                                                                                                                                     GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                        Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                 5                    6                   7
Transaction Date    Check or             Paid To /Received From                   Description of Transaction               Uniform Tran.    Deposits ($)       Disbursements ($)  Account/CD Balance
                    Reference                                                                                                  Code                                                      ($)
   04/01/14          100051     LA FULL SERVICE STORAGE LLC             STAFF'S SERVICES                                    6990-00                                       $160.00        $88,872.14
                                14501 S BROADWAYGARDENA, CA             8 HRS @ $20.00 PER HOUR
                                90248                                   INVOICE NO 1191
   04/07/14                     Associated Bank                         BANK SERVICE FEE                                    2600-00                                       $204.41         $88,667.73

   04/09/14            10       CONFIDENTIAL SETTLEMENT                 JUNE PAYMENT                                        1249-00              $5,000.00                               $93,667.73
                                                                        SETTLEMENT WITH
                                                                        FORMER PROFESSIONALS
                                                                        OF WESTMOORE
  04/15/14             16       TRACY &MARK MOLENAAR                    2ND PAYMENT IN                                      1249-00                  $500.00                             $94,167.73
                                                                        SETTLEMENT
  04/17/14             9        RASKIN LAW LLP                          REIMBURSEMENT OF                                    1249-00                  $340.00                             $94,507.73
                                                                        DISCOVERY
                                                                        EXPENSE
                                                                                                                                                                                                                                  #:4422




  04/17/14             10       CONFIDENTIAL SETTLEMENT                 JULY PAYMENT                                        1249-00              $5,000.00                               $99,507.73
                                                                        SETTLEMENT WITH
                                                                        FORMER PROFESSIONALS
                                                                        OF WESTMOORE
  04/17/14           100052     JOAQUIN DE TERESA                       REIMBURSEMENT OF                                    6990-00                                    $3,187.40         $96,320.33
                                C/O CASTILLO SNYDER, APCBANK OF         FUNDS ADVANCED
                                AMERICA PLAZASUITE 1020300              FOR LITIGATION RE MARCH
                                CONVENT STREETSAN ANTONIO, TX           2014 SETTLEMENT
                                78205-3789                              PAYMENTS RELATING TO
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT AND
                                                                        BLESSINGM/2
                                                                        I NVESTMENTS SETTLEMENT
  04/17/14           100053     CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                            6210       -00                               $5,640.51         $90,679.82
                                BANK OF AMERICA PLAZA, STE              FEE
                                1020300 CONVENT STREETSAN               ON MARCH 2014
                                ANTONIO, TX 78204-3789                  SETTLEMENT PAYMENTS
                                                                        RELATING TO CONFIDENTIAL
                                                                        SETTLEMENT, AND
                                                                        BLESSING/WD
                                                                        I NVESTMENTS SETTLEMENT
                                                                                                                                                                                                Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 41 of 77 Page ID




73
                                                                             Page Subtotals:                                                   $10,840.00              $9,192.32
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Associated Bank
                                                                                                             Account Number/CD#: XXXXXX4938
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                          3                                            4                                                  5                    6                     7
Transaction Date    Check or             Paid To /Received From                     Description of Transaction                Uniform Tran.    Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                       l$)
   04/17/14          100054     CASTILLO SNYDER, A PROF CORP        PAYMENT OF CONTINGENCY                                     6220-00                                   $1,604.17           $89,075.65
                                BANK OF AMERICA PLAZA, STE          COSTS
                                1020300 CONVENT STREETSAN           ON MARCH 2014
                                ANTONIO, TX 78204-3789              SETTLEMENT PAYMENTS
                                                                    RELATING TO CONFIDENTIAL
                                                                    SETTLEMENT, AND
                                                                    BLESSING/WD
                                                                    I NVESTMENTS SETTLEMENT
  04117/14           100055     THE COOPER LAW FIRM, P.C.           REIMBURSEMENT OF                                           6220-00                                      $833.80          $88,241.85
                                2030 MAIN STREET, SUITE 13001RVINE, COSTS ADVANCED
                                CA 92614                            ON BEHALF OF CASTILLO
                                                                    SNYDER,APCFOR
                                                                    LITIGATION
  04/24/14             17       OSTELESIS CORP                      SETTLEMENT WITH OSTES                                      1249-00             $27,500.00                               $115,741.85
                                C/O EMPIRE LTD                      HERNANDEZ/EMPIRE FAMILY
                                                                                                                                                                                                                                       #:4423




                                                                        LIMITED PARTNERSHIP
  04/24/14                      Transfer to Acct # XXXXXX5851           Transfer of Funds Per Kcenia                           9999-00                                  $27,500.00           $88,241.85

  05/05/14                      Transfer from Acct # XXXXXX5851         Transfer of Funds Per Kcenia                           9999-00             $27,500.00                               $115,741.85

  05/07/14                      Associated Bank                         BANK SERVICE FEE                                       2600-00                                      $142.62         $115,599.23

  05/15/14             16       TRACY MOLENAAR                          3RD SETTLEMENT PAYMENT                                 1249-00                 $500.00                              $116,099.23

  05/15/14           100056     JOAQUIN DE TERESA                       REIMBURSEMENT OF                                       1290-00            ($1,125.00)                               $114,974.23
                                C/O CASTILLO SNYDER, APC                FUNDS ADVANCED
                                BANK OF AMERICA PLAZA, SUITE 1020       FOR LITIGATION RE APRIL
                                300 CONVENT STREET                      2014 SETTTLEMENT
                                SAN ANTONIO, TX 78205-3789              PAYMENTS RELATING TO
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT
                                                                                                                                                                                                     Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 42 of 77 Page ID




74
                                                                              Page Subtotals:                                                     $54,375.00           $30,080.59
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                      Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                            Bank Name: Associated Bank
                                                                                                           Account Number/CD#: XXXXXX4938
                                                                                                                                     GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                        Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                5                    6                  7
Transaction Date    Check or             Paid To /Received From                   Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($) Account/CD Balance
                    Reference                                                                                                  Code                                                    ($)
   05/21/14          100057     CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                            6210       -00                              $7,119.10       $107,855.13
                                BANK OF AMERICA PLAZA, STE              FEE
                                1020300 CONVENT STREETSAN               ON MARCH 2014 AND APRIL
                                ANTONIO, TX 78204-3789                  2014 SETTLEMENT
                                                                        PAYMENTS RELATING TO
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT PAYMENTS
                                                                        FROM MOLENAAR,
                                                                        HERNANDEZ/EMPIRE AND
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT
  05(21/14           100058     CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                              6220-00                                   $5,023.59       X102,831.54
                                BANK OF AMERICA PLAZA, STE              COSTS
                                1020300 CONVENT STREETSAN               ON MARCH 2014
                                ANTONIO, TX 78204-3789                  SETTLEMENT PAYMENTS
                                                                                                                                                                                                                                #:4424




                                                                        RELATING TO CONFIDENTIAL
                                                                        SETTLEMENT PAYMENTS
                                                                        FROM MOLENAAR,
                                                                        HERNANDEZ/EMPIRE AND
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT
  05/21/14           100059     PCG CONSULTANTS, INC                    FIELD PREPRESENTATIVE                             6710       -00                              $4,292.48        $98,539.06
                                P O BOX 1439COEUR D'ALENE, ID           SERVICES
                                83816
  05/22/14           100060     FILE KEEPERS LLC                        STORAGE CHARGES FOR                                 2410-00                                      $100.74       $98,438.32
                                6227 E. SLAUSON AVE.COMMERCE,           MAY 2014
                                CA 90040                                INVOICE #378741
                                                                        ACCT# 4140
  05/30/14             10       CONFIDENTIAL SETTLEMENT                 AUGUST PAYMENT                                      1249-00              $5,000.00                            $103,438.32
                                                                        SETTLEMENT WITH
                                                                        FORMER PROFESSIONALS
                                                                        OF WESTMOORE
  06/03/14             18       CONFIDENTIAL SETTLEMENT                 SETTLEMENT                                          1249-00            $25,000.00                             $128,438.32

  06/06/14                      Associated Bank                         BANK SERVICE FEE                                    2600-00                                      $172.45      $128,265.87

  06/12/14             16       TRACY MOLENAAR                         4TH AND FINAL                                        1249-00                 $500.00                           $128,765.87
                                                                                                                                                                                              Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 43 of 77 Page ID




                                                                       SETTLEMENT PAYMENT




75
                                                                             Page Subtotals:                                                   $30,500.00           $16,708.36
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
        Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                             Bank Name: Associated Bank
                                                                                                            Account Number/CD#: XXXXXX4938
                                                                                                                                      GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                         Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                       Separate Bond (if applicable):

       1              2                            3                                            4                                                 5                  6                     7
Transaction Date   Check or              Paid To /Received From                    Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                   Reference                                                                                                    Code                                                      l$)
   06/26/4                      CONFIDENTIAL SETTLEMENT                 SEPTEMBER PAYMENT                                    1249-00              $5,000.00                              5133,765.87
                                                                        SETTLEMENT WITH
                                                                        FORMER PROFESSIONALS
                                                                        OF WESTMOORE
   06/26/14        100061       NEXTECH                                 SERVER COLOCATION                                    6990-00                                  $2,506.63          $131,259.24
                                2030E 4TH STREETSUITE 156SANTA          SERVICES
                                ANA, CA 92705-3940                      INVOICE #S 2615, 2632, 2575
                                                                        MAY AND JUNE 2014 PLUS
                                                                        COST FOR 4 EXTERNAL
                                                                        HARD DISKS, SHIPPING
                                                                        EXPENSES AND OFF-SITE
                                                                        PROFESSIONAL
                                                                        CONSULTING SERVICES
   06/27/14                     CONFIDENTIAL SETTLEMENT                 SEPTEMBER PAYMENT                                    1249-00             $20,000.00                              $151,259.24
                                                                        SETTLEMENT WITH
                                                                                                                                                                                                                                     #:4425




                                                                        FORMER PROFESSIONALS
                                                                        OF WESTMOORE
  06/27/14            19        MICHAEL LINSLEY                         SETTLEMENT WITH MICHAEL                              1249-00             $20,000.00                              $171,259.24
                                                                        LINSLEY
  06/27/14                      Reverses Wire In # 0                    SEPTEMBER PAYMENT                                    1249-00            ($5,000.00)                              $166,259.24
                                                                        SETTLEMENT WITH
                                                                        I NCORRECT AMOUNT
  06/27/14                      Reverses Wire In # 0                    SEPTEMBER PAYMENT                                    1249-00           ($20,000.00)                              $146,259.24
                                                                        SETTLEMENT WITH
                                                                        I NCORRECT SETTLEMENT
                                                                        PARTY
  07/02!14           18         CONFIDENTIAL SETTLEMENT                 SETTLEMENT                                           1249-00              $5,000.00                              $151,259.24

  07/08/14                      Associated Bank                         BANK SERVICE FEE                                     2600-00                                     $192.36         $151,066.88

  07/09/14         100062       FILE KEEPERS LLC                        STORAGE CHARGES FOR                                  2410-00                                     $128.20         $150,938.68
                                6227 E. SLAUSON AVE.COMMERCE,           JUNE 2014
                                CA 90040                                INVOICE #382853
                                                                        ACCT# 4140
                                                                                                                                                                                                   Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 44 of 77 Page ID




76
                                                                              Page Subtotals:                                                   $25,000.00            $2,827.19
                                                                                     FORM 2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
        Case No: 10-00849                                                                                        Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                           Bank Name: Associated Bank
                                                                                                          Account Number/CD#: XXXXXX4938
                                                                                                                                    GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                       Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                     Separate Bond (if applicable):


       1              2                           3                                           4                                                 5                  6                    7
Transaction Date   Check or             Paid To /Received From                   Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)   Account/CD Balance
                   Reference                                                                                                  Code                                                     l$)
   07/16/14        100063       JOAQUIN DE TERESA                      REIMBURSEMENT OF                                    1290-00            ($1,125.00)                             x,149,813.68
                                C/O CASTILLO SNYDER, APC               FUNDS ADVANCED
                                BANK OF AMERICA PLAZA, SUITE 1020      FOR LITIGATION RE MAY
                                300 CONVENT STREET                     2014 SETTTLEMENT
                                SAN ANTONIO, TX 78205-3789             PAYMENTS RELATING TO
                                                                       CONFIDENTIAL
                                                                       SETTLEMENT
   07/16/14        100064       CASTILLO SNYDER, A PROF CORP           PAYMENT OF CONTINGENCY                            6210       -00                            $11,709.02         $138,104.66
                                BANK OF AMERICA PLAZA, STE             FEE
                                1020300 CONVENT STREETSAN              ON MAY AND JUNE 2014
                                ANTONIO, TX 78204-3789                 SETTLEMENT PAYMENTS
                                                                       RELATING TO CONFIDENTIAL
                                                                       SETTLEMENT PAYMENTS
                                                                       FROM MOLENAAR,
                                                                       HERNANDEZ/EMPIRE AND
                                                                                                                                                                                                                                  #:4426




                                                                       CONFIDENTIAL
                                                                       SETTLEMENT
   07/16/14        100065       CASTILLO SNYDER, A PROF CORP           PAYMENT OF CONTINGENCY                              6220-00                                  $3,796.37         $134,308.29
                                BANK OF AMERICA PLAZA, STE             COSTS
                                1020300 CONVENT STREETSAN              ON MAY AND JUNE 2014
                                ANTONIO, TX 78204-3789                 SETTLEMENT PAYMENTS
                                                                       RELATING TO CONFIDENTIAL
                                                                       SETTLEMENT PAYMENTS
                                                                       FROM MOLENAAR,
                                                                       HERNANDEZ/EMPIRE AND
                                                                       CONFIDENTIAL
                                                                       SETTLEMENT
  07/16/14         100066       REGAL COURT REPORTING, INC.            CHARGES RELATING TO                                 6990-00                                  $2,746.99         $131,561.30
                                321 N. RAMPART STREETSUITE             DEPOSITIONS,
                                2500RANGE, CA 92868                    VIDEO RECORDING AND
                                                                       TRANSCRIPTS RE
                                                                       DEPOSITION OF PAMELA
                                                                       MINARD, STEPHEN
                                                                       CONK~IN, PAUL BICKFORD,
                                                                       AND MICHAEL SUGARMAN
  07/16/14         100067       THE COOPER LAW FIRM, P.C.           REIMBURSEMENT OF                                       6220-00                                  $1,495.58         $130,065.72
                                2030 MAIN STREET, SUITE 13001RVINE, COSTS ADVANCED
                                CA 92614                            ON BEHALF OF CASTILLO
                                                                    SNYDER,APCFOR
                                                                                                                                                                                                Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 45 of 77 Page ID




                                                                    LITIGATION




77
                                                                            Page Subtotals:                                                   ($1,125.00)          519,747.96
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS F2ECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Associated Bank
                                                                                                              Account Number/CD#: XXXXXX4938
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                 5                   6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                       ~$)
   07/23/14            10       CONFIDENTIAL SETTLEMENT                 SETTLEMENT                                             1249-00              $5,000.00                              $135,065.72

   07/31/14            19       MICHAEL LINSLEY                         SETTLEMENT WITH LINSELY                                1249-00             $20,000.00                              $155,065.72
                                N ANCY LINSLEY
   07/31/14            11       B. HENDRICKSON                          SETTLEMENT WITH                                        1249-00             $36,270.00                              $191,335.72
                                L. HENDRICKSON                          HENDRICKSONS
  07/31/14             18       CONFIDENTIAL SETTLEMENT                 CONFIDENTIAL                                           1249-00              $5,000.00                              $196,335.72
                                PAYMENT                                 SETTLEMENT PAYMENT
                                PMB 25
  08/06/14                      Transfer to Acct # XXXXXX5919           Transfer of Funds Per Kcenia                           9999-00                                 $50,000.00         $146,335.72

  08/06/14           100068     NEXTECH                                 SERVER COLOCATION                                      2690-00                                     $200.00        $146,135.72
                                20300 E. 4TH ST., SUITE 156SANTA        SERVICES
                                ANA, CA 92705-3940                      FOR AUGUST 2014
                                                                                                                                                                                                                                      #:4427




  08/07/14                      Associated Bank                        Bank Service Fee under 11                               2600-00                                     $228.83        $145,906.89
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(x)(2)
  08/12/14           100069     FILE KEEPERS LLC                        MONTHLY STORAGE                                      6990       -00                                $200.73        $145,706.16
                                6277 EAST SLAUSON AVENUE                CHARGES AND CHARGES
                                LOS ANGELES, CA 90040                   FOR BOX RETRIEVAL
                                                                        I NVOICE #385588

  08/19/14             10       CONFIDENTIAL SETTLEMENT                 OCTOBER PAYMENT ON                                     1249-00              $5,000.00                             $150,706.16
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT WITH FORMER
                                                                        PROFESSIONALS OF
                                                                        WESTMOORE
  08/21/14             22       10 INVESTMENTS LLC                      INITIAL PAYMENT ON                                     1249-00            $10,000.00                              $160,706.16
                                                                        SETTLEMENT
                                                                        I GOR OLSHANSKY
  08/25/14             21       CRAIG ALAN BROD                         PAYMENT RE SETTLEMENT                                  1249-00            $10,000.00                              $170,706.16
                                                                        WITH CRAIG BROD
  08/25/14             19       MICHAEL LINSLEY                         PAYMENT RE SETTLEMENT                                  1249-00            $20,000.00                              $190,706.16
                                                                        WITH LINSLEY
  09/05/14             29       CONFIDENTIAL SETTLEMENT                 CONFIDENTIAL                                           1249-00           $500,000.00                              $690,706.16
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 46 of 77 Page ID




                                                                        SETTLEMENT WITH FORMER
                                                                        I NVESTOR




78
                                                                              Page Subtotals:                                                    $611,270.00           X50,629.56
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                        Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                               Bank Name: Associated Bank
                                                                                                             Account NumberlCD#: XXXXXX4938
                                                                                                                                       GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                          3                                            4                                                 5                   6                   7
Transaction Date    Check or             Paid To /Received From                     Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)  AccountlCD Balance
                    Reference                                                                                                    Code                                                    ($)
   09/08/14                     Associated Bank                        Bank Service Fee under 11                              2600-00                                     $311.42       $690,394.74
                                                                       U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   09/10/14            30       RONALD EGIGIAN                          SETTLEMENT WITH RONALD                                1249-00             $25,000.00                            $715,394.74
                                                                        EGIGIAN
   09/11/14          100070     NEXTECH                                 SERVER COLOCATION                                     2690-00                                     $200.00       5715,194.74
                                20300 E. 4TH ST., SUITE 156SANTA        SERVICES FOR SEPTEMBER
                                ANA, CA 92705-3940                      2014
   09/11/14          100071     FILE KEEPERS LLC                        MONTHLY STORAGE                                      6990      -00                                 $99.93       $715,094.81
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #388337
                                LOS ANGELES, CA 90040

   09/12/i4            32       DIANE M. BRAUN                          SETTLEMENT WITH DIANE                                 1249-00             $85,000.00                            $800,094.81
                                                                        M. BRAUN
                                                                                                                                                                                                                                   #:4428




   09/12/14          100072     CASTIL~O SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                              6210       -00                            $13,415.22        $786,679.59
                                BANK OF AMERICA PLAZA, STE              FEE ON JULY AND AUGUST
                                1020300 CONVENT STREETSAN               2014 SETTLEMENT
                                ANTONIO, TX 78204-3789                  PAYMENTS RELATING TO
                                                                        SETTLEMENT PAYMENTS
                                                                        RECEIVED FROM JULY 22,
                                                                        2014 THRU AUGUST 25, 2014
                                                                        TOTALLING $65,000
   09/12/14          100073     CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                                6220-00                                 $11,339.11        $775,340.48
                                BANK OF AMERICA PLAZA, STE              COSTS ON JULY AND
                                1020300 CONVENT STREETSAN               AUGUST 2014 SETTLEMENT
                                ANTONIO, TX 78204-3789                  PAYMENTS RELATING TO
                                                                        SETTLEMENT PAYMENTS
                                                                        RECEIVED FROM JULY 22,
                                                                        2014 THRU AUGUST 25, 2014
                                                                        TOTALLING $65,000
   09/12/14          100074     JOAQUIN DE TERESA                       REIMBURSEMENT OF                                      6990-00                                  $2,227.12        $773,113.36
                                C/O CASTILLO SNYDER, APCBANK OF         FUNDS ADVANCED FOR
                                AMERICA PLAZASUITE 1020300              LITIGATION RELATING TO
                                CONVENT STREETSAN ANTONIO, TX           CONFIDENTIAL
                                78205-3789                              SETTLEMENT
                                                                                                                                                                                                 Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 47 of 77 Page ID




79
                                                                              Page Subtotals:                                                   $110,000.00           $27,592.80
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                      Trustee Name: David A. Gill, Receiver
      Casz Name: SEC VS. WESTMOORE ET AL                                                                             Bank Name: Associated Bank
                                                                                                           Account Number/CD#: XXXXXX4938
                                                                                                                                     GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                        Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                5                   6                   7
Transaction Date    Check or             Paid To /Received From                   Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)  Account/CD Balance
                    Reference                                                                                                  Code                                                    ($)
   09/17/14          100075     FILE KEEPERS LLC                        MONTHLY STORAGE                                    6990      -00                                $173.20       $772,940.16
                                6277 EAST SLAUSON AVENUE                CHARGES FOR JUNE 2014,
                                LOS ANGELES, CA 90040                   INVOICE #0380068


   09/18/14          100076     FEDRECEIVER, INC.                       FOR SERVICES PROVIDED                               2690-00                                     $847.00       5772,093.16
                                C/O JAMES H. DONELL                     RE GILL VS BUCK BLESSING,
                                1 2121 WILSHIRE BLVD., SUITE 1120       ET AL
                                LOS ANGELES, CA 90025
   09/18/14          100077     FEDRECEIVER, INC.                       REIMBURSEMENT OF                                    2690-00                                      $62.90       $772,030.26
                                C/O JAMES H. DONELL                     COSTS FOR SERVICES
                                1 2121 WILSHIRE BLVD., SUITE 1120       PROVIDED RE GILL VS BUCK
                                LOS ANGELES, CA 90025                   BLESSING, ET AL
   09/19/14            22       10 INVESTMENTS LLC                      PAYMENT ON SETTLEMENT                               1249-00             $20,000.00                            $792,030.26
                                                                        WITH OLSHANSKY
                                                                                                                                                                                                                                 #:4429




   09/19/14            31       PABLO VILLANUEVA                        SETTLEMENT WITH PABLO                               1249-00             $50,000.00                            $842,030.26
                                                                        VILLANUEVA
   09/22/14            19       MICHAEL LINSLEY                         SETTLEMENT WITH MICHAEL                             1249-00             $20,000.00                            $862,030.26
                                                                        LINSLEY
   09/22/14            10       CONFIDENTIAL SETTLEMENT                 NOVEMBER PAYMENT ON                                 1249-00              $5,000.00                            $867,030.26
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT WITH FORMER
                                                                        PROFESSIONALS OF
                                                                        WESTMOORE
  09/30/14           100079     DANNING, GILL, DIAMOND & KOLLITZ BALANCE OF ATTORNEY                                       6110      -00                        ($199,424.62)        $1,066,454.88
                                1900 AVE OF THE STARS,11TH F~~OS FOR RECEIVER FEES FOR
                                ANGELES, CA 90067                PERIOD 4/1/12 THRU 9/30/13
                                                                 PER ORDER ENTERED
                                                                 2/26/14 Reversal
  09/30!14           100078     DAVID A. GILL                           BALANCE OF RECEIVER'S                             6101       -00                            S18,128.46       $1,048,326.42
                                                                        FEES FOR PERIOD 4/1/12
                                                                        THRU 9/30/13 PER ORDER
                                                                        ENTERED 2/26/14
  09/30/14           100079     DANNING, GILL, DIAMOND & KOLLITZ BALANCE OF ATTORNEY                                      6110       -00                          $199,424.62         $848,901.80
                                1900 AVE OF THE STARS,11TH FLLOS FOR RECEIVER FEES FOR
                                A NGELES, CA 90067               PERIOD 4/1/12 THRU 9/30/13
                                                                 PER ORDER ENTERED
                                                                                                                                                                                               Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 48 of 77 Page ID




                                                                 2/26/14




80
                                                                             Page Subtotals:                                                    $95,000.00          $19,211.56
                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Associated Bank
                                                                                                              Account Number/CD#: XXXXXX4938
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                5                   6                     7
Transaction Date    Check or              Paid To I Received From                    Description of Transaction               Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                       ~$)
   09/30/14          100080     DANNING GILL DIAMOND & KOLLITZ            BALANCE OF ATTORNEY                                 6101      -00                          $127,840.18           $721,061.62
                                LLP                                       FOR RECEIVER'S FEES FOR
                                                                          PERIOD 4/1/1 2 THRU 9/30/13
                                                                          PER ORDER ENTERED
                                                                          2/26/14
   09/30/14          100081     PCG CONSULTANTS                           BALANCE OF FORENSIC                                6700       -00                            $31,650.60          $689,411.02
                                P.O. BOX 1439                             ANALYST FOR RECEIVER'S
                                COUER D' ALENE, ID 83816                  FEES FOR PERIOD 4/1/12
                                                                          THRU 9/30/13 PER ORDER
                                                                          ENTERED 2/26/14
  09/30/14           100082     CROWE HORWATH LLP                         BALANCE OF ACCOUNTANT                              6410       -00                            $17,897.96          $671,513.06
                                15233 VENTURA BLVD.,9TH FLOOR             FOR RECEIVER'S FEES FOR
                                SHERMAN OAKS, CA 91403                    PERIOD 4/1/12 THRU 9/30/13
                                                                          PER ORDER ENTERED
                                                                          2/26/24
                                                                                                                                                                                                                                      #:4430




  09/30/14           100083     PCG CONSULTANTS                           FIELD REPRESENTATIVES                              6700       -00                             $6,290.00          $665,223.06
                                1 1400 West Olympic Blvd., Suite 200      SERVICES (FEES) FOR
                                Los Angeles, CA 90064                     PERIOD 2/18/14 THRU 8/6/14
  09/30/i4           100084     PCG CONSULTANTS                           REIMBURSEMENT OF FIELD                             6700       -00                                $340.89         $664,882.17
                                1 1400 West Olympic Bivd., Suite 200      REPRESENTATIVES
                                Los Angeles, CA 90064                     EXPENSES FOR PERIOD
                                                                          1 2/5/13 THRU 6/19/14
   10/01/14          100085     REGAL COURT REPORTING                     COURT REPORTER                                       6990-00                                  $1,912.80          $662,969.37
                                2100 NORTH BROADWAY, SUITE205             SERVICES, INVOICE #S 7534,
                                SANTA ANA, CA 92706                       7450, 7451, 7452
   10/01/14          100086     CASTILLO SNYDER, A PROF CORP             PAYMENT OF                                          6210       -00                          $206,408.24           $456,561.13
                                BANK OF AMERICA PLAZA, STE               CONTINGENCY FEE ON
                                1020300 CONVENT STREETSAN                AUGUST AND SEPTEMBER
                                ANTONIO, TX 78204-3789                   2014 SETTLEMENT
                                                                         PAYMENTS RELATING TO
                                                                         SETTLEMENT PAYMENTS
                                                                         RECEIVED FROM AUGUST
                                                                         21, 2014 THRU SEPTEMBER
                                                                         18, 2014 TOTALLING $690,000
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 49 of 77 Page ID




81
                                                                                Page Subtotals:                                                         $0.00        $392,340.67
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX4938
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                    5                   6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction                Uniform Tran.      Deposits (S)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ~$~
   1 0/01/14         100087     CASTILLO SNYDER, A PROF CORP            REIMBURSEMENT OF                                         6220-00                                       $59.73         $456,501.40
                                BANK OF AMERICA PLAZA, STE              COSTS RE AUGUST AND
                                1020300 CONVENT STREETSAN               SEPTEMBER 2014
                                ANTONIO, TX 78204-3789                  SETTLEMENT PAYMENTS
                                                                        RELATING TO SETTLEMENT
                                                                        PAYMENTS RECEIVED FROM
                                                                        AUGUST 21, 2014 THRU
                                                                        SEPTEMBER 18, 2014
                                                                        TOTALLING $690,000
   10/03/14          100088     NEXTECH                                 SERVER COLOCATION                                        2690-00                                      $400.00         $456,101.40
                                20300 E. 4TH ST., SUITE 156SANTA        SERVICES FOR JULY AND
                                ANA, CA 92705-3940                      OCTOBER 2014, INVOICE #S
                                                                        2649 AND 2753
   10/07/14                     Associated Bank                        Bank Service Fee under 11                                 2600-00                                   $1,104.74          $454,996.66
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                                                                                                                                                                                         #:4431




                                                                       (1), and 507(a)(2)
   10/07/~4          100089     FILE KEEPERS LLC                       MONTHLY STORAGE                                         6990     -00                                    $83.20         $454,913.46
                                6277 EAST SLAUSON AVENUE               CHARGES FOR OCTOBER
                                L05 ANGELES, CA 90040                  2014, INVOICE #391073


   10/07/14          100090     JAMES H. DONELL                         EXPERT WITNESS FEES RE                                 6700     -00                                $6,689.50          X448,223.96
                                1 2121 WILSHIRE BLVD., SUITE 1120       GILL, ET AL. VS. BLESSING,
                                LOS ANGELES, CA 90025                   ET AL.
   10/07/14          100091     JAMES H. DONELL                        EXPERT WITNESS                                          6710     -00                                   $62.90          $448,161.06
                                1 2121 WILSHIRE BLVD., SUITE 1120      EXPENSES RE GILL, ET AL.
                                LOS ANGELES, CA 90025                  VS. BLESSING, ET AL.
   10/13/14            22       10 INVESTMENTS LLC                     FINAL PAYMENT ON                                         1249-00               X35,000.00                              $483,161.06
                                                                       SETTLEMENT WITH
                                                                       OLSHANSKY
   10/17/14            28       MHS CAPITAL                            SALE OF RECEIVER'S                                       1249-00              $88,390.50                               $571,55156
                                                                       I NTEREST IN MHS CAPITAL
  10/20/14             10       CONFIDENTIAL SETTLEMENT                DECEMBER PAYMENT ON                                      1249-00                $5,000.00                             $576,551.56
                                                                       CONFIDENTIAL
                                                                       SETTLEMENT WITH FORMER
                                                                       PROFESSIONALS OF
                                                                       WESTMOORE
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 50 of 77 Page ID




82
                                                                              Page Subtotals:                                                       $128,390.50            $8,400.07
                                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                             Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Associated Bank
                                                                                                                   Account NumberlCD#: XXXXXX4938
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                    5                    6                     7
Transaction Date    Check or              Paid To 1 Received From                     Description of Transaction                Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                          ~g~
   10/24/F4          100092     JEFFREY I. GOLDEN, TRUSTEE FOR            PAYMENT TO CHAPTER 7                                    4120-00                                   $10,000.00          $566,551.56
                                GM FUNDING, LLC                           TRUSTEE PER ORDER
                                650 TOWN CENTER DRIVE, SUITE 950          APPROVING COMPROMISE
                                COSTA MESA, CA 92626                      ENTERED 9/10/14
   10/29/14            34       Corona Business Suites, LLG29430950       CLOSING OF CORONA                                       1290-00                  $690.00                              $567,241.56
                                                                          BUSINESS SUITES, LLC
                                                                          29430950 BANK ACCOUNT
                                                                          WITH CITIZENS BUSINESS
                                                                          BANK
   10/29/i4            34       corona business suites Iic 290430381      CLOSING OF CORONA                                       1290-00               $2,232.04                               $569,473.60
                                                                          BUSINESS SUITES, LLC
                                                                          29430381 BANK ACCOUNT
                                                                          WITH CITIZENS BUSINESS
                                                                          BANK
   1 1/04/14           10       CONFIDENTIAL SETTLEMENT                   JANUARY PAYMENT ON
                                                                                                                                                                                                                                            #:4432




                                                                                                                                  1249-00               $5,000.00                               X574,473.60
                                                                          CONFIDENTIAL
                                                                          SETTLEMENT WITH FORMER
                                                                          PROFESSIONALS OF
                                                                          WESTMOORE
   1 1/07/14                    Associated Bank                          Bank Service Fee under 11                                2600-00                                       $921.24         X573,552.36
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(x)(2)
   1 1/07/14         100093     JAMES H. DONELL                           EXPERT WITNESS FEES RE                                 6700-00                                     $2,810.50          $570,741.86
                                1 2121 WILSHIRE BLVD.. SUITE 1120         GILL, ET AL. VS. BLESSING,
                                LOS ANGELES, CA 90025                     ET AL., INVOICE #1002

   1 1/07/14         100094     JAMES H. DONELL                           EXPERT WITNESS                                        6710     -00                                      $6.00         $570,735.86
                                1 2121 WILSHIRE BLVD., SUITE 1120         EXPENSES RE GILL, ET AL.
                                LOS ANGELES, CA 90025                     VS. BLESSING, ET AL.,
                                                                          I NVOICE #1002
   1 1/14/14           10       CONFIDENTIAL SETTLEMENT                  FEBRUARY PAYMENT ON                                     1249-00                $5,000.00                               $575,735.86
                                                                         CONFIDENTIAL
                                                                         SETTLEMENT WITH FORMER
                                                                         PROFESSIONALS OF
                                                                         WESTMOORE
   1 1/21/14         100095     NEXTECH                                  SERVER COLOCATION                                       2690-00                                        $200.00         $575,535.86
                                20300 E. 4TH ST., SUITE 156SANTA         SERVICES FOR NOVEMBER
                                                                                                                                                                                                          Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 51 of 77 Page ID




                                ANA, CA 92705-3940                       2014, INVOICE #2690




83
                                                                                Page Subtotals:                                                       $12,922.04           $13,937.74
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
        Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                              Bank Name: Associated Bank
                                                                                                           Account Number/CD#: XXXXXX4938
                                                                                                                                    GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                         Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):

       1              2                            3                                            4                                                5                   6                     7
Transaction Date   Check or              Paid To /Received From                     Description of Transaction            Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                   Reference                                                                                                  Code                                                        l$)
   1 1/25/14       100096       JOAQUIN DE TERESA                       REIMBURSEMENT OF                                    6990-00                                   $4,500.00          $571,035.86
                                C/O CASTILLO SNYDER, APCBANK OF         FUNDS ADVANCED FOR
                                AMERICA PLAZASUITE 1020300              LITIGATION RELATING TO
                                CONVENT STREETSAN ANTONIO, TX           CONFIDENTIAL
                                78205-3789                              SETTLEMENT
   1 1/25/i4       100097       CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                            6210    -00                                $15,781.25          $555,254.61
                                BANK OF AMERICA PLAZA, STE              FEE FROM SEPTEMBER 22,
                                1020300 CONVENT STREETSAN               2014 THRU NOVEMBER 14,
                                ANTONIO, TX 78204-3789                  2014 SETTLEMENT
                                                                        PAYMENTS RELATING TO
                                                                        SETTLEMENT PAYMENTS
                                                                        RECEIVED FOR THIS PERIOD
                                                                        TOTALLING $55,000
   1 2/05/~4          35        PAUL BICKFORD                          SETTLEMENT WITH PAUL                                 1249-00              $17,500.00                              $572,754.61
                                                                        BICKFORD
                                                                                                                                                                                                                                     #:4433




   1 2/05/14                    Associated Bank                         Bank Service Fee under 11                           2600-00                                      $899.18         $571,855.43
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
   1 2/08/14          10        CONFIDENTIAL SETTLEMENT                 MARCH PAYMENT ON                                    1249-00               $5,000.00                              $576,855.43
                                PAYMENT                                CONFIDENTIAL
                                                                       SETTLEMENT WITH FORMER
                                                                       PROFESSIONALS OF
                                                                       WESTMOORE
   1 2/08/14       100098       FILE KEEPERS LLC                        MONTHLY STORAGE                                   6990    -00                                     $85.80         X576,769.63
                                6277 EAST SLAUSON AVENUE                CHARGES FOR NOVEMBER
                                LOS ANGELES, CA 90040                   2014, INVOICE #396511


   1 2/08/14       100099       NEXTECH                                 SERVER COLOCATION                                   2690-00                                      $200.00         $576,569.63
                                20300 E. 4TH ST., SUITE 156SANTA        SERVICES FOR DECEMBER
                                ANA, CA 92705-3940                      2014, INVOICE #2690
   1 2/17/14         36         Paul N. Weinberg                        PAYMENT ON SETTLEMENT                               1249-00            $125,000.00                               $701,569.63
                                10560 Wilshire Blvd., No. 2004          WITH WEINBERG,
                                Los Angeles, CA 90024-7315              SHLIMOVICH AND
                                                                        I NGLEWOOD JEWELRY &
                                                                        LOAN, INC.
                                                                                                                                                                                                   Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 52 of 77 Page ID




84
                                                                              Page Subtotals:                                                  $147,500.00          $21,466.23
                                                                                     FORM 2
                                                                 ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                      Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                             Bank Name: Associated Bank
                                                                                                           Account Number/CD#: XXXXXX4938
                                                                                                                                     GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                        Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                      Separate Bond (if applicable):


       1                2                         3                                            4                                                5                  6                    7
Transaction Date    Check or            Paid To /Received From                    Description of Transaction               Uniform Tran.    Deposits ($)    Disbursements ($)   Account/CD Balance
                    Reference                                                                                                  Code                                                     l$)
   1 2/17/14           36       PAUL N. WEINBERG                       PAYMENT ON SETTLEMENT                                1249-00           $375,000.00                           $1,076,569.63
                                10560 WILSHIRE BLVD. NO.2004           WITH;WEINBERG,
                                LOS ANGELES, CA 90024-7315             SNLIMOVICH AND
                                                                       I NGLEWOOD JEWELRY &
                                                                       LOAN, INC.
   1 2/29/14         100100     CASTILLO SNYDER, A PROF CORP           PAYMENT OF CONTINGENCY                             6210       -00                         $168,201.92          $908,367.71
                                BANK OF AMERICA PLAZA, STE             FEE 12/16/14 PAYMENTS
                                1020300 CONVENT STREETSAN              RELATING TO SETTLEMENT
                                ANTONIO, TX 78204-3789                 PAYMENTS RECEIVED FOR
                                                                       THIS PERIOD TOTALLING
                                                                       $500,000
   1 2/29/14         100101     CASTILLO SNYDER, A PROF CORP           REIMBURSEMENT OF                                     6220-00                                $11,391.18        $896,976.53
                                BANK OF AMERICA PLAZA, STE             COSTS RE 12/16/14
                                1020300 CONVENT STREETSAN              SETTLEMENT PAYMENTS
                                ANTONIO, TX 78204-3789                 RELATING TO SETTLEMENT
                                                                                                                                                                                                                                #:4434




                                                                       PAYMENTS RECEIVED FROM
                                                                       AUGUST 21, 2014 THRU
                                                                       SEPTEMBER 18, 2014
                                                                       TOTALLING 5690,000
   1 2/29/14         100102     THE COOPER LAW FIRM, P.C.           REIMBURSEMENT OF                                        6220-00                                 X4,526.25        $892,450.28
                                2030 MAIN STREET, SUITE 13001RVINE, COSTS ADVANCED
                                CA 92614                            ON BEHALF OF CASTILLO
                                                                    SNYDER, APC FOR
                                                                    LITIGATION
   1 2/29/14         100103     JAMS, INC.                             REVIEW OF BRIEFS AND                               6990       -00                            $1,575.00        $890,875.28
                                P.O. BOX 512850                        VARIOUS COURT OPINIONS
                                LOS ANGELES, CA 90051                  RE GILL, ET AL. VS.
                                                                       BLESSING, BUCK, ET AL.,
                                                                       I NVOICE #0003291500-220
   1 2/29/14         100104     REGAL COURT REPORTING, INC.            COURT REPORTING                                      6990-00                                 $1,900.96        $888,974.32
                                2100 N. BROADWAY, SUITE205             SERVICE, INVOICE #7552
                                SANTA ANA, CA 92706
                                                                                                                                                                                              Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 53 of 77 Page ID




85
                                                                             Page Subtotals:                                                  $375,000.00        $187,595.31
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Associated Bank
                                                                                                              Account Number/CD#: XXXXXX4938
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                          3                                             4                                                 5                    6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                       ($)
   1 2/29/14         100105     PROFESSIONAL CIVIL PROCESS              PROCESS SERVICE,                                       6990-00                                      $300.00         X888,674.32
                                830 N. E. LOOP 410                      INVOICE #S S13100448,
                                SUITE 209                               S13100447, S13100446,
                                SAN ANTONIO, TX 78209                   S13100445, S13100444,
                                                                        S13100450, AND S13100452
                                                                        VENDOR HAS AGREED TO
                                                                        ACCEPT $300 FOR THESE
                                                                        I NVOICES
   01/07/15          100106     FILE KEEPERS LLC                        MONTHLY STORAGE                                      6990       -00                                 $147.90         $888,526.42
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #393832
                                LOS ANGELES, CA 90040

   01/08/15                     Associated Bank                         Bank Service Fee under 11                              2600-00                                   S1,258.85          $887,267.57
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
                                                                                                                                                                                                                                        #:4435




   01/09/15          100107     NEXTECH                                 SERVER COLOCATION                                      2690-00                                      $200.00         $887,067.57
                                20300 E. 4TH ST., SUITE 156SANTA        SERVICES FOR JANUARY
                                A NA, CA 92705-3940                     2015, INVOICE #2866
   01/09/15          100108     FILE KEEPERS LLC                        MONTHLY STORAGE                                      6990       -00                                  $85.80         $886,981.77
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #399238
                                LOS ANGELES, CA 90040

   01/23/15          100109     CASTILLO SNYDER, A PROF CORP            PAYMENT OF CONTINGENCY                               6210       -00                             $13,622.54          $873,359.23
                                BANK OF AMERICA PLAZA, STE              FEE ON SETTLEMENTS
                                1020300 CONVENT STREETSAN               RECEIVED ON 9/22!14,
                                ANTONIO, TX 78204-3789                  12/5/14, 12/8/14, 1/20/15
                                                                        TOTALLING $47,500
   01!23/15          100110     CASTILLO SNYDER, A PROF CORP            REIMBURSEMENT OF                                       6220-00                                        $9.85         X873,349.38
                                BANK OF AMERICA PLAZA, STE              COSTS RE SETTLEMENT
                                1020300 CONVENT STREETSAN               PAYMENTS RECEIVED ON
                                ANTONIO, TX 78204-3789                  9/22/14, 12/5/14, 12/8/14 AND
                                                                        1 /20/15
   01/23/15          100111     JOAQUIN DE TERESA                       REIMBURSEMENT OF                                       6990-00                                   $2,250.00          $871,099.38
                                C/O CASTILLO SNYDER, APCBANK OF         FUNDS ADVANCED FOR
                                A MERICA PLAZASUITE 1020300             LITIGATION RELATING TO
                                CONVENT STREETSAN ANTONIO, TX           CONFIDENTIAL
                                78205-3789                              SETTLEMENT
                                                                                                                                                                                                      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 54 of 77 Page ID




86
                                                                               Page Subtotals:                                                           $0.00          $17,874.94
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEME(VTS 12ECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Associated Bank
                                                                                                                  Account Number/CD#: XXXXXX4938
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1               2                           3                                             4                                                    5                   6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction                Uniform Tran.      Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                         ~~~
   01/26/15            10       CONFIDENTIAL SETTLEMENT                 APRIL PAYMENT ON                                         1249-00               $5,000.00                              $876,099.38
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT WITH FORMER
                                                                        PROFESSIONALS OF
                                                                        WESTMOORE
   02/02/15            21       CRAIG BROD                              PAYMENT SETTLEMENT RE                                    1249-00               $4,980.00                              $881,079.38
                                                                        CRAIG BROD
   02/06/'15                    Associated Bank                         Bank Service Fee under 11                                2600-00                                   $1,398.99          $879,680.39
                                                                        U.S.C. § 330(a)(1)(B), 503(b)
                                                                       (1), and 507(a)(2)
  02/09/15             10       CONFIDENTIAL SETTLEMENT                 MAY PAYMENT ON                                           1249-00               $5,000.00                              $884,680.39
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT WITH FORMER
                                                                        PROFESSIONALS OF
                                                                                                                                                                                                                                         #:4436




                                                                        WESTMOORE
  02/10/15           100112     FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990     -00                                    $85.80         $884,594.59
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #401997
                                LOS ANGELES, CA 90040

  02/19/15             11       LESTER L. HENDRICKSON                   SETTLEMENT PAYMENT RE                                    1249-00            $213,360.67                             $1,097,955.26
                                                                        HW PARTNERS FROM
                                                                        HENDRICKSONS
  03/02/15             10       CONFIDENTIAL SETTLEMENT                 JUNE PAYMENT ON                                          1249-00               $5,000.00                            $1,102,955.26
                                                                        CONFIDENTIAL
                                                                        SETTLEMENT WITH FORMER
                                                                        PROFESSIONALS OF
                                                                        WESTMOORE
  03/06/15                      Associated Bank                        Bank Service Fee under 11                                2600-00                                    $1,359.54        $1,101,595J2
                                                                       U.S.C. § 330(a)(1)(Bj, 503(b)
                                                                       (T), and 507(a)(2)
  03/11/15           100113     FILE KEEPERS LLC                        MONTHLY STORAGE                                        6990     -00                                    $85.80       $1,101,509.92
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #399238
                                LOS ANGELES, CA 90040

  03/11/15           100114     NEXTECH                                 SERVER COLOCATION                                       6990-00                                       $200.00       $1,101,309.92
                                20300 E. 4TH ST., SUITE 156SANTA        SERVICES FOR MARCH
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 55 of 77 Page ID




                                ANA, CA 92705-3940                      2015, INVOICE #2935




87
                                                                              Page Subtotals:                                                       $233,340.67            $3,130.13
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBUF2SEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                               Bank Name: Associated Bank
                                                                                                              Account Number/CD#: XXXXXX4938
                                                                                                                                       GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                          3                                            4                                                  5                    6                 7
Transaction Date    Check or             Paid To /Received From                     Description of Transaction               Uniform Tran.     Deposits ($)      Disbursements ($)Account/CD Balance
                    Reference                                                                                                    Code                                                     ~$)
   03/27/15                     Transfer to Acct # xxxxxx6623           Transfer of Funds                                     9999-00                               $1,101,309.92              $0.00

   04/1 0/'15        100116     FILE KEEPERS LLC                        MONTHLY STORAGE                                     6990       -00                                  ($85.80)           $85.80
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #407568
                                LOS ANGELES, CA 90040                   Reversal
                                                                        I NCORRECT ACCOUNT
   04/10/15          100115     NEXTECH                                 SERVER COLOCATION                                     6990-00                                    ($400.00)            $485.80
                                20300 E. 4TH ST., SUITE 156SANTA        SERVICES FOR FEBRUARY
                                ANA, CA 92705-3940                      2015 AND APRIL2015,
                                                                        I NVOICE #S 2913 AND 3015
                                                                        Reversal
                                                                        I NCORRECT ACCOUNT
   04/10/15          100115     NEXTECH                                 SERVER COLOCATION                                     6990-00                                       $400.00            $85.80
                                20300 E. 4TH ST., SUITE 156SANTA        SERVICES FOR FEBRUARY
                                                                                                                                                                                                                                     #:4437




                                ANA. CA 92705-3940                      2015 AND APRIL 2015,
                                                                        I NVOICE #S 2913 AND 3015
   04/10/15          100116     FILE KEEPERS LLC                        MONTHLY STORAGE                                     6990       -00                                   $85.80             $0.00
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #407568
                                LOS ANGELES, CA 90040

  06/08/15           100117     FILE KEEPERS LLC                        MONTHLY STORAGE                                     6990       -00                                   $85.80           ($85.80)
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #413130
                                LOS ANGELES, CA 90040

  06/16/75           100117     FILE KEEPERS LLC                        MONTHLY STORAGE                                     6990       -00                                  ($85.80)            $0.00
                                6277 EAST SLAUSON AVENUE                CHARGES, INVOICE #413130
                                LOS ANGELES, CA 90040                   Reversal




                                                                                                        COLUMN TOTALS                          $2,541,235.91        $2,541,235.91
                                                                                                              Less: Bank Transfers/CD's          $406,007.83        $1,178,809.92
                                                                                                        Subtotal                               $2,135,228.08        $1,362,425.99
                                                                                                              Less: Payments to Debtors                  $0.00                $0.00
                                                                                                                                                                                                   Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 56 of 77 Page ID




                                                                                                        Net                                    $2,135,228.08        X1,362,425.99




88
                                                                              Page Subtotals:                                                            $0.00      $1,101,309.92
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                             Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Associated Bank
                                                                                                               Account Number/CD#: XXXXXX5208
                                                                                                                                        LAKE BLVD PROPERTY
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                             4                                                      5                   6                     7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                         (~)
   09/27/'12                    Transfer from Acct # XXXXXX9977         Bank Funds Transfer                                       9999-00               $4,981.93                                 $4,981.93

   10/16/12                     Associated Bank                         BANK SERVICE FEE                                          2600-00                                         $0.31           $4,981.62

   1 1/05/12                    Associated Bank                         BANK SERVICE FEE                                          2600-00                                         X3.17           $4,978A5

   1 2/07/12                    Associated Bank                         BANK SERVICE FEE                                          2600-00                                         $3.07           $4,975.38

   01/08/13                     Associated Bank                         BANK SERVICE FEE                                          2600-00                                         $3.17           $4,972.21

   02/27/14                     Transfer to Acct # XXXXXX4938           Transfer of Funds Per Melvin                              9999-00                                    $4,972.21                 $0.00
                                                                                                                                                                                                                                           #:4438




                                                                                                         COLUMN TOTALS                                  $4,981.93            $4,981.93
                                                                                                                  Less: Bank Transfers/CD's             $4,981.93            $4,972.21
                                                                                                         Subtotal                                            $0.00               $9.72
                                                                                                               Less: Payments to Debtors                     $0.00               $0.00
                                                                                                         Net                                                 $0.00               $9.72
                                                                                                                                                                                                         Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 57 of 77 Page ID




89
                                                                               Page Subtotals:                                                          $4,981.93            $4,981.93
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Associated Bank
                                                                                                               Account Number/CD#: XXXXXX5851
                                                                                                                                       OSTES/EMPIRE SETTLEMENT
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


       1                2                          3                                            4                                                     5                    6                     7
Transaction Date    Check or             Paid To /Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    AccountlCD Balance
                    Reference                                                                                                      Code                                                         (~)
   04/24/14                     Transfer from Acct # XXXXXX4938         Transfer of Funds Per Kcenia                             9999-00              $27,500.00                                $27,500.00

   05/05/14                     Transfer to Acct # XXXXXX4938           Transfer of Funds Per Kcenia                             9999-00                                   $27,500.00                $0.00



                                                                                                        COLUMN TOTALS                                 $27,500.00           X27,500.00
                                                                                                                 Less: Bank Transfers/CD's            $27,500.00           $27,500.00
                                                                                                        Subtotal                                            $0.00               $0.00
                                                                                                               Less: Payments to Debtors                    $0.00               $0.00
                                                                                                         Net                                                50.00                $0.00
                                                                                                                                                                                                                                          #:4439
                                                                                                                                                                                                        Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 58 of 77 Page ID




90
                                                                              Page Subtotals:                                                        $27,500.00           $27,500.00
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                             Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Associated Bank
                                                                                                                Account Number/CD#: XXXXXX5919
                                                                                                                                        EXPERT WITNESS FEES
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1                2                           3                                            4                                                     5                    6                     7
Transaction Date    Check or              Paid To /Received From                     Description of Transaction                 Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Cotle                                                         ~$)
   08/06/14                     Transfer from Acct # XXXXXX4938          Transfer of Funds Per Kcenia                             9999-00              $50,000.00                                 X50,000.00

   03/27/15                     Transfer to Acct # xxxxxx6747            Transfer of Funds                                        9999-00                                   $50,000.00                $0.00



                                                                                                         COLUMN TOTALS                                 $50,000.00           $50,000.00
                                                                                                                  Less: Bank Transfers/CD's            $50,000.00           $50,000.00
                                                                                                         Subtotal                                            $0.00                $0.00
                                                                                                                Less: Payments to Debtors                    $0.00                $0.00
                                                                                                          Net                                                $0.00               $0.00
                                                                                                                                                                                                                                           #:4440
                                                                                                                                                                                                         Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 59 of 77 Page ID




91
                                                                               Page Subtotals:                                                        $50,000.00           $5Q000.00
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
        Case No: 10-00849                                                                                           Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                               Bank Name: Bank of America
                                                                                                            Account Number/CD#: XXXXXX1698
                                                                                                                                     GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       1              2                            3                                             4                                                5                    6                    7
Transaction Date   Check or              Paid To I Received From                     Description of Transaction            Uniform Tran.      Deposits ($)      Disbursements ($)   Account/CD Balance
                   Reference                                                                                                   Code                                                         C$)
   10/12/11            1        SOUTHWEST SECURITIES, INC.               CLOSING OF SOUTHWEST                                1229-00                   $37.50                                   $37.50
                                                                         SECURITIES
                                                                         RE WESTMOORE
                                                                         M ANAGEMENT RE ACCOUNT
                                                                         #800363381
   10/12/11           2         SOUTHWEST SECURITIES, INC.               CLOSING OF SOUTHWEST                                1229-00                  $688.60                                   $726.10
                                                                         SECURITIES
                                                                         RE WESTMOORE CAPITAL
                                                                         GROUP SERIES B ACCOUNT
                                                                         #800367101
   10/12/11           3         SOUTHWEST SECURITIES, INC.               CLOSING OF SOUTHWEST                                1229-00                  $156.97                                   $883.07
                                                                         SECURITIES
                                                                         RE WESTMOORE CAPITAL
                                                                         GROUP SERIES II ACCOUNT
                                                                         #800370331
                                                                                                                                                                                                                                      #:4441




   10/12/11           4         LEGENT CLEARING                          CLOSING OF C.K. COOPER                              1229-00              $34,610.10                               $35,493.17
                                                                         ACCOUNT
                                                                         FOR WESTMOORE CAPITAL
                                                                         GROUP SERIES LLC
                                                                         ACCT#4108-5335
   10/12/11           5         LEGENT CLEARING                          CLOSING OF C.K. COOPER                              1229-00                   $28.90                              $35,522.07
                                                                         ACCOUNT
                                                                         FOR WESTMOORE
                                                                         MANAGEMENT LLC
                                                                         ACCT#7237-0983
   10/12/11           6         LEGENT CLEARING                          CLOSING OF C.K. COOPER                              1229-00                  $14.18                               $35,536.25
                                                                         ACCOUNT
                                                                         FOR WESTMOORE
                                                                         I NVESTMENT LP ACCT#4436-
                                                                         6860
   10/12/11           7         TRIPLE WIN PARTNERSHIP, LLC,             PAYMENT ON JUDGMENT RE                              1249-00            $200,000.00                              $235,536.25
                                SERIES                                   MATTHEW
                                                                         JENNINGS
   10/12/11                     Transfer to Acct # XXXXXX1708            Bank Funds Transfer                                 9999-00                                 $235,531.25                 $5.00

   10/19/11                     Transfer from Acct # XXXXXX1708          Bank Funds Transfer                                 9999-00               $2,532.03                                $2,537.03
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 60 of 77 Page ID




92
                                                                               Page Subtotals:                                                  $238,068.28          $235,531.25
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Bank of America
                                                                                                              Account Number/CD#: XXXXXX1698
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                             4                                                  5                    6                   7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.     Deposits ($)      Disbursements ($) Account/CD Balance
                    Reference                                                                                                     Code                                                      ~$)
   1 0/19/'1 1        1001      SPICER JEFFRIES, LLP                    REIMBURSEMENT OF                                       3991-00                                    $1,740.00             $797,03
                                5251 SOUTH QUEBEC ST.SUITE              FORMER
                                200GREENWOOD VILLAGE, CO 80111          FORMER ACCOUNTANT'S
                                                                        TIME FOR RESPONDING TO
                                                                        REQUEST FOR DOCUMENTS
   10/19/11           1002      BANK OF AMERICA                         CHARGES FOR                                           2990      -00                                   $56.28             $740.75
                                LEGAL ORDER PROCESSINGCA9-705-          PRODUCTION OF
                                05-19P.0. BOX3609LOS ANGELES, CA        DOCUMENTS
                                90051                                   AND RELATED CHARGES RE
                                                                        SEC V. WESTMOORE
                                                                        MANAGEMENT LLC, ET AL.
                                                                        RE CASE NO. L090911000316
   10/19/11           1003      SOUTHWEST SECURITIES, INC.        CHARGES FOR                                                 2990      -00                                  $574.50             $166.25
                                1 201 ELM STREETSUITE 3500DALLAS, PRODUCTION OF
                                TX 75270-2180                     DOCUMENTS
                                                                                                                                                                                                                                        #:4442




                                                                  AND RELATED CHARGES RE
                                                                  SEC V. WESTMOORE
                                                                  MANAGEMENT, LLC, ET AL.
   10/19/11           1004      CITIZENS BUSINESS BANK                  CHARGES FOR                                           2990      -00                                  $161.25               $5.00
                                P.O. BOX 39380NTAR10, CA 91761          PRODUCTION OF
                                                                        DOCUMENTS
                                                                        AND RELATED CHARGES RE
                                                                        SEC V. WESTMOORE
                                                                        MANAGEMENT LLC, ET AL.
   10/31/11                     Transfer from Acct # XXXXXX1708         Transfer of Funds Per Melvin                           9999-00                  $210.77                                  $215.77

   1 0/31/i 1         1005      FEDEX                                   FEDEX CHARGES                                        2990       -00                                  $210.77               $5.00
                                P O BOX 7221 PASADENA, CA 91109-        FOR DELIVERY TO DISTRICT
                                7321                                    COURT RE CERTIFIED COPY
                                                                        OF COMPLIANTS AND
                                                                        J UDGMENT
                                                                        I NVOICE # 7-661-44588
                                                                        ACCT # 1077-0356-0
   10/31/11                     BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                       2600-00                                        $18.99             ($13.99)

   1 1/01/11                    Transfer from Acct # XXXXXX1708         Transfer of Funds Per Melvin                           9999-00                   $38.99                                   $25.00
                                                                                                                                                                                                      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 61 of 77 Page ID




93
                                                                               Page Subtotals:                                                          $249.76           $2,761.79
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                         Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                Bank Name: Bank of America
                                                                                                              Account Number/CD#: XXXXXX1698
                                                                                                                                        GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                             4                                                 5                    6                   7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits ($)      Disbursements ($)  AccountlCD Balance
                    Reference                                                                                                     Code                                                      l$)
   1 1/1 0/11                   BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                       2600-00                                       $18.99              $6.01
                                CORRECTION10/31 BANK DID CREDIT
                                I NSTEAD OF DEBT11/01 BANK
                                REVERSED CREDIT
   1 1/14/11                    Reverses Adjustment OUT on 1 1/1 0/11   BANK SERVICE FEE                                       2600-00                                      ($18.99)             $25.00
                                                                        BANK OF AMERICA, N.A.
                                                                        CORRECTION
                                                                        10/31 BANK DID CREDIT
                                                                        I NSTEAD OF DEBT
                                                                        1 1/01 BANK REVERSED
                                                                        CREDIT
   1 1/14/11                    BANK OF AMERICA, N.A.                   CORRECTING ENTRY                                       1290-00                  $18.99                                   $43.99
                                CORRECTION
                                10/31 BANK DID CREDIT INSTEAD OF
                                DEBT
                                                                                                                                                                                                                                      #:4443




                                1 1/01 BANK REVERSED CREDIT
   1 1/14/11                    Transfer to Acct # XXXXXX1708           Transfer of Funds Per Melvin                           9999-00                                       $33.99              $10.00

   1 2/05/11                    Transfer from Acct # XXXXXX1708         Transfer of Funds Per Melvin                           9999-00                   $0.06                                   $10.06
                                                                        BANK SERVICE FEE
                                                                        NOVEMBER 2011
   1 2/05/ 11                   BANK SERVICE FEE NOVEMBER 2011          Transfer of Funds Per Melvin                           2600-00                                        $0.06              $10.00

   1 2/22/11                    TRANSFER FROM ACCT                      Transfer of Funds Per Kcenia                           9999-00                  $30.41                                   $40.41
                                #XXXXXXX1708

   1 2/22/11          1006      BANK OF AMERICA                         Costs for Obtaining Copies                            2990      -00                                  $30.41              $10.00
                                P. O. Box 3609Los Angeles, CA 90051     Records for Case No.
                                                                        L11411000638
   1 2/29/11                    TRANSFER OF FUNDS                       Transfer of Funds Per Kcenia                           9999-00                 $135.00                                  $145.00

   1 2/29/11          1007      IRON MOUNTAIN                           Storage Charges                                        2410-00                                      X135.00              $10.00
                                P. O. Box 601002Pasadena, California    Invoice ELV2635
                                91189-1002                              Customer ID CF902
  01/03/12                      BANK OF AMERICA                         Bank Fees                                              2600-00                                        $0.01               $9.99
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 62 of 77 Page ID




94
                                                                               Page Subtotals:                                                         $184.46              $199.47
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                 Bank Name: Bank of America
                                                                                                              Account Number/CD#: XXXXXX1698
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case l imit):
For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


       ~                2                          3                                             4                                                  5                    6                    7
Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.     Deposits (S)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                     Code                                                        ~$~
   01/10/12                     TRANSFER FROM ACCOUNT                   Transfer of Funds Per Kcenia                            9999-00               $1,000.00                               $1,009.99
                                XXXXXX1708

  01/10/12                      TRANSFER FROM ACCT XXXXXX1708           Conver Dec Bank Fees                                    9999-00                   $0.01                               $1,010.00

   01/10/12                     TRANSFER FROM ACCOUNT                   Storage Charges                                         9999-00               $2,237.77                               $3,247.77
                                XXXXXX1708

   01/10/12           1029      TRANSFER TO ACCOUNT XXXXXX1708 To reverse transfer no                                           9999-00                                   $2,237.77           $1,010.00
                                                               requested
   01/10/12           1008      NEXTECH, INC.                           Hosting Fees for two Servers                            6990-00                                   $1,000.00               $10.00
                                2030 East 4thStreetSuite 1125Santa Ana, Invoice Numbers 882, 914,
                                CA 92705                                967, 998 and 1047
  01/10/12            1009      IRON MOUNTAIN                           Storage Charges                                         2420-00
                                                                                                                                                                                                                                       #:4444




                                                                                                                                                                          $2,237.77          ($2,227.77)
                                P. O. Box 601002Pasadena, CA 91189-     Invoices No. CC22659,
                                1002                                    CAP7195, DWN8736,
                                                                        DES9808, CRH0305,
                                                                        EEG9036, DJD6353,
                                                                        CMW1908, EBD7211,
                                                                        DMG0296, EHK0990,
                                                                        SCP6747, DRC9000, ELV2635,
                                                                        CXA8299 and DUL5240
  01/13/12                      BIZ ENTERPRISES, INC.                                                                           0000-00                 $124.00                              ($2,103.77)

  01/13/12                      VERNON FAMILY DENTAL, INC.                                                                      0000-00                  $52.00                             ($2,051.77)

  01/13/12                      SALMAN SHAMMASH                                                                                 0000-00                  $72.00                             ($1,979.77)

  01!13/12                      IVEN Y RASHTIAN                                                                                 0000-00                  $26.00                              01,953.77)

  01/13/12                      RASHEL NAGHDI                           DONATION                                                0000-00                 $120.00                             ($1,833.77)

  01/13/12                      FEREYDON & POURAN EBRAMI                                                                        0000-00                  $72.00                             ($1,761.77)

  01/13/12                      AMIR BAROUR                             DONATION                                                0000-00                 $126.00                             ($1,635.77)
                                                                                                                                                                                                     Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 63 of 77 Page ID




95
                                                                               Page Subtotals:                                                       $3,829.78            $5,475.54
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX1698
                                                                                                                                           GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                              Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                   5                     6                     7
Transaction Date    Check or             Paid To /Received From                       Description of Transaction                 Uniform Tran.    Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                        ($)
   01/13/12           1030      TRANSFER TO ACCOUNT XXXXXX1708 Transfer of Funds Per Kcenia                                       9999-00                                        $90.00          ($1,725.77)

   01/13/12           1031      TRANSFER TO ACCOUNT XXXXXX1708 Transfer of Funds Per Kcenia                                       9999-00                                       $502.00          ($2,227.77)

   01/17/12                     TRANSFER FROM ACCT XXXXXX1708           Transfer of Funds Per Kcenia                              9999-00                 $592.00                                ($1,635.77)

   01/17/12                     Reverses Deposit # 8                    Biz Enterprises Inc.                                      0000-00               ($124.00)                                ($1,759.77)
                                                                        Reversal of Deposit
                                                                        I nadvertently deposited to the
                                                                        account
   01/17/12                     Reverses Deposit # 9                    Vernon Family Dental Inc.                                 0000-00                 ($52.00)                               ($1,811.77)
                                                                        Reversal of Deposit
                                                                        I nadvertently deposited to the
                                                                        account
                                                                                                                                                                                                                                            #:4445




   01/17/12                     Reverses Deposit # 10                   Reversal of Deposit                                       0000-00                 ($72.00)                               ($1,883.77)
                                                                        i nadvertently
                                                                        deposited to the account

  01/17/12                      Reverses Deposit # 11                   Reversal of Deposit                                       0000-00                 ($26.00)                               ($1,909.77)
                                                                        i nadvertently deposited to the
                                                                        account
  01/1 7/12                     Reverses Deposit # 12                   DONATION                                                  0000-00               ($120.00)                                ($2,029.77)
                                                                        Reversal of deposit
                                                                        i nadvertently deposited to the
                                                                        account
  01/17/12                      Reverses Deposit # 13                   Reversal of Deposit                                       0000-00                 ($72.00)                               (52,101.77)
                                                                        i nadvertently deposited to the
                                                                        account
  01/17/12                      Reverses Deposit # 14                   DONATION                                                  0000-00               ($126.00)                               ($2,227.77)
                                                                        Reversal ofDeposit
                                                                        i nadvertently deposited to the
                                                                        account
  01/20/12                      TRANSFER FROM ACCOUNT                   Transfer of Funds Per Kcenia                              9999-00              $2,393.77                                      $166.00
                                XXXXXX1708
                                                                                                                                                                                                          Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 64 of 77 Page ID




96
                                                                               Page Subtotals:                                                         $2,393.77                $592.00
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBUEiSEMENl"S RECORD
           Case No: 10-00849                                                                                             Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Bank of America
                                                                                                                   Account Number/CD#: XXXXXX1698
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                    5                    6                     7
Transaction Date    Check or              Paid To /Received From                      Description of Transaction                Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                          ~$~
   01/20/12           1010      ASPEN STOCKTRANSFER SERVICES, Fees to Research Transfer of                                      2990     -00                                 $1,200.00           ($1,034.00)
                                LLC                                    Stock
                                6623 Las Vegas Blvd, SouthSuite 255Las Re: Velatel
                                Vegas, NV 89119
   01/20/12           1011      REMINGTON MOVING ANDSTORAGE              Moving Expenses                                        2990     -00                                    $638.22          ($1,672.22)
                                14501 S. BroadwayGardena, CA 90248
  01/20/12            1012      IRON MOUNTAIN                            Costs for Removal of Records                           2990     -00                                    $555.55          ($2,227.77)
                                1 2958 Midway PlaceCerritos, CA 90703    from Storage Facility
  01/31/12                      TRANSFER FROM ACCT XXXXXX1708            Transfer of Funds Per Kcenia                             9999-00                    $0.65                               ($2,227.12)

  01/31/12                      BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                         2600-00                                         $0.65          ($2,227.77)

  01!31/12            1032      TRANSFER OF FUNDS TO CORRECT             Transfer of Funds Per Kcenia                             9999-00                                         $0.65          ($2,228.42)
                                TRANSF
                                                                                                                                                                                                                                           #:4446




  02/06/12             23       WELLS FARGO BANK                         CLOSING OF WELLS FARGO                                   1290-00               $1,321.50                                 ($906.92)
                                                                         BANK ACCOUNT
  02/14/12                      TRANSFER FROM ACCT XXXXXX1708            Transfer of Funds Per Kcenia                            9999-00                $2,793.32                                 $1,886.40

  02/29/12                      BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                         2600-00                                         $1.63           $1,884.77

  03/19/12             7        LEGENT CLEARING                          Payment on Judgment re                                   1249-00             $44,926.57                                 $46,811.34
                                                                         Jennings
  03/22/12            1013      REMINGTON MOVERS LLC                     Costs for Removal of Records                           2990     -00                                 $1,506.25           $45,305.09
                                14501 S. BroadwayGardena, CA 90428       From Storage Facility, Storage
                                                                         charges and Packing Materials.
                                                                         I nvoices 2258, 2593 and 2295
  03/23/12            1033      TRANSFER TO ACCT XXXXXX1708              Transfer of Funds Per Kcenia                            9999-00                                   $40,000.00             55,305.09

  03/30/12                      BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                        2600-00                                          $3.35           $5,301.74

  04/05/'12           1014      REMINGTON MOVERS LLC                     Storage Charges                                         2410-00                                        $475.00           $4,826.74
                                14501 S. BroadwayGardena, CA 90248       Invoices 2630
  04/05/12            1015      PCG CONSULTANTS                          Field Representative Fees                               3991-00                                   $26,270.25          ($21,443.51)
                                                                                                                                                                                                         Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 65 of 77 Page ID




                                1 1400 West Olympic BlvdSuite 200Los
                                Angeles, CA 90064




97
                                                                                Page Subtotals:                                                       $49,042.04           $70,651.55
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                             Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Bank of America
                                                                                                               Account Number/CD#: XXXXXX1698
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No; XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1               z                           3                                              4                                                    5                   6                    7
Transaction Date    Check or             Paid To /Received From                       Description of Transaction                 Uniform Tran.     Deposits ($)     Disbursements ($)   Account/CD Balance
                    Reference                                                                                                        Code                                                       ~$~
   04/05/12           1016      PCG CONSULTANTS                         Field Representative                                     3992    -00                                $2,327.80        ($23,771.31)
                                1 1400 West Olympic BlvdSuite 200~os
                                Angeles, CA 90064
   04/10/12                     TRANSFER FROM ACCT XXXXXX 1708 Transfer of Funds Per Kcenia                                       9999-00              $25,000.00                               $1,228.69

   04/10/12                     FIDELITY NATIONAL TITLE COMPANY         SALE PROCEEDS FROM                                                            $152,288.11                             $153,516.80
                                                                        SALE OF 231 BELMONT AVE
                                                                        E # 409, SEATTLE WA
                                                                        PROPERTY
                                                                        Gross Receipts                             $175,000.00

                                                                        COMMISSIONS                                ($5,250.00)    3510-00

                                                                        Commissions                                ($5,250.00)    3510-00
                                                                                                                                                                                                                                         #:4447




                                                                        Escrow Charges                             ($1,880.43)    2500-00

                                                                        Recording Charges                          ($3,120.00)    2500-00

                                                                        Taxes                                      ($7,211.46)    2820-00

                       24                                               231 BELMONT AVE. E #409,                   $175,000.00    1210-00
                                                                        SEATTLE WA
  04/10/12                      FIDELITY NATIONAL TITLE COMPANY         SALE PROCEEDS FROM                                                           $124,002.50                              X277,519.30
                                                                        SALE OF 231 BELMONT AVE
                                                                        E # 406, SEATTLE WA
                                                                        PROPERTY
                                                                        Gross Receipts                             $165,000.00

                                                                        COMMISSIONS                                ($4,950.00)    3510-00

                                                                        Escrow Charges                             ($2,011.22)    2500-00

                                                                       Recording Charges                           ($2,942.00)    2500-00
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 66 of 77 Page ID




                                                                       Association (Condo) Dues                ($20,121.14)       2500-00




98
                                                                                Page Subtotals:                                                      $301,290.61            $2,327.80
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                             Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Bank of America
                                                                                                               Account Number/CD#: XXXXXX1698
                                                                                                                                         GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       1               2                            3                                              4                                                   5                  6                     7
Transaction Date    Check or              Paid To /Received From                      Description of Transaction                 Uniform Tran.     Deposits ($)    Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                      ($)
                                                                         Taxes                                     ($6,023.14)    2820-00

                                                                         Commissions                               ($4,950.00)    3510-00

                       25                                                231 BELMONT AVE. E #406,                  $165,000.00    1210-00
                                                                         SEATTLE, WA
   04/30/12                     BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                         2600-00                                     $203.82         $277,315.48

   05/01/12                     IRON MOUNTAIN                            Refund re Storage Charges                                2410-00                                  ($135.00)          $277,450.48

  05/03/12            1034      TRANSFER TO ACCOUNT XXXXXX1708 Transfer of Funds Per Kcenia                                       9999-00                               $250,000.00            $27,450.48

  05/03/12            1017      REMINGTON MOVING &STORAGE                Storage Charges                                          2410-00                                     $475.00          $26,975.48
                                                                                                                                                                                                                                         #:4448




                                14501 S. BroadwayGardena, CA 90248       Invoice 2661
  05/15/12                      FIDELITY NATIONAL TITLE COMPANY          Add Fees 231 Belmont Ave                                 2500-00                                  ($127.42)           $27,102.90
                                                                         Property
  05/15/12                      FIDELITY NATIONAL TITLE COMPANY          Add proceeds 231 Belmont                                 2500-00                                  ($200.13)           $27,303.03
                                                                         property
  05/31/'12                     BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                         2600-00                                      $65.24          $27,237.79

  06/06/12            1018      REMINGTON MOVING AND STORAGE             Storage Charges                                          2410-00                                     $475.00          $26,762.79
                                14501 S. BroadwayGardena, CA 90248       Invoice 2692
  06/08/12                      TRANSFER FROM ACCT XXXXXX1708            Transfer of Funds Per Kcenia                             9999-00            $300,000.00                              $326,762.79

  06/08/12            1019      PCG CONSULTANTS                          Field Representative Fees                                3991-00                                  $7,373.00          $319,389.79
                                1 1400 West Olympic BlvdSuite 200Los     For services rendered as
                                Angeles, CA 90064                        Forensic Analyst and
                                                                         I nvestigator
  06/08/12            1020      DAVID A. GILL, RECEIVER                  Receiver's Fees                                         2100    -00                             $51,876.50           $267,513.29
                                1900 Avenue of the Stars11th FloorLos    For services rendered through
                                Angeles, CA 90067                        3/31/12
  06/08/12            1021      DAVID A. GILL, RECEIVER                 Receiver's Expenses                                       2200-00                                     $533.89         $266,979.40
                                1900 Avenue of the Stars11th FloorLos   For expenses incurred through
                                Angeles, CA 90067                       3/31/12
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 67 of 77 Page ID




99
                                                                                 Page Subtotals:                                                     $300,000.00        $310,539.90
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                               Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                  Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX1698
                                                                                                                                           GENERAL ACCOUNT
  Taxpayer ID No: XX-XXX0295                                                                              Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                            Separate Bond (if applicable):


       1               2                           3                                               4                                                     5                    6                 7
Transaction Date    Check or             Paid To /Received From                         Description of Transaction                 Uniform Tran.     Deposits ($)      Disbursements ($)Account/CD Balance
                    Reference                                                                                                          Code                                                    ($)
   06/08/12           1022      DANNING GILL DIAMOND & KOLLITZ          General Counsel Fees                                        3310-00                                 $230,956.80        $36,022.60
                                1900 Avenue of the Stars11th FloorLos   For fees incurred through
                                Angeles, CA 90067                       3/31/12
   06/08/12           1023      DANNING GILL DIAMOND & KOLLITZ          General Counsel Expenses                                    3320-00                                   $10,726.46       $25,296.14
                                1900 Avenue of the Stars11th FloorLos   For expenses incurred through
                                Angeles, CA 90067                       3/31/12
   06/14/12                     HELIP A. & THERESE S. FIALHO            Deposit on Sale of Lake                                    7100    -00                               ($5,000.00)       $30,296.14
                                                                        Property
   06/18/12           1035      TRANSFER TO ACCT XXXXXX9977             Transfer of Funds Per Kcenia                                9999-00                                    $5,000.00       $25,296.14

  06/28/12                      Reversal of Bank Fee Debt               correction                                                  1290-00                  $310.60                           $25,606.74

  06/29/12                      BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                            2600-00                                        $80.30      $25,526.44
                                                                                                                                                                                                                                        #:4449




  06/29/12                      POSTED IN ERROR                         Bank Fee                                                    2600-00                                       $310.60      $25,215.84

  07/02/12            1024      REMINGTON MOVING AND STORAGE            Storage Charges                                             2410-00                                       $475.00      $24,740.84
                                14501 S. BroadwayGardena, CA 90248      I nvoice 2735
  07/13/12                      FIDELITY NATIONAL TITLE COMPANY         SALE OF PROPERTY                                                               $137,906.33                            $162,647.17

                                                                        Gross Receipts                               $170,000.00

                                                                        Title Charges                                  ($547.50)    2500-00

                                                                        Real Estate Broker Fees                  ($10,200.00)       3510-00

                                                                        Title Charges                                  ($146.25)    2500-00

                                                                        Recording &Transfer Charges                  ($3,031.00)    2500-00

                                                                        additional charges                             ($500.00)    2500-00

                                                                        County Taxes King County                     ($7,255.49)    2500-00
                                                                                                                                                                                                      Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 68 of 77 Page ID




                                                                        Reimbursement Doug Fischer                      ($81.00)    2500-00




100
                                                                               Page Subtotals:                                                         $138,216.93          5242,549.16
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
            Case No: 10-00849                                                                                              Trustee Name: David A. Gill, Receiver
       Case Name: SEC VS. WESTMOORE ET AL                                                                                     Bank Name: Banl< of America
                                                                                                                     Account Number/CD#: XXXXXX1698
                                                                                                                                            GENERAL ACCOUNT
   Taxpayer ID No: XX-XXX0295                                                                             Blanket Bond (per case limit):
 For Period Ending: 06/17/2019                                                                           Separate Bond (if applicable):


        1               2                           3                                               4                                                     5                  6                     7
 Transaction Date    Check or             Paid To /Received From                        Description of Transaction                  Uniform Tran.    Deposits ($)     Disbursements ($)    Account/CD Balance
                     Reference                                                                                                          Code                                                       ~~)
                                                                         Homeowner's Assoc. Dues                      ($9,738.68)    2500-00

                                                                         Escrow Fees                                   ($547.50)     2500-00

                                 CHAMPION COURIER                        Courier Fees                                    ($46.25)    2500-00

                        2~                                               231 BELMONT AVE. #411,                      $170,000.00     1210-00
                                                                         SEATTLE WA
   07/31/12                      BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                            2600-00                                     $156.51         $162,490.66

   08/02/12            1025      REMINGTON MOVING AND STORAGE            Storage Charges                                             2410-00                                     $397.50         $162,093.16
                                 14501 S. BroadwayGardena, CA 90248      Invoice 2749
   08/21/12             26       COMMONWEALTH LAND TITLE CO.             sale Proceeds of 1620 N. Lake                               1210-00             $25,000.00                              $187,093.16
                                                                                                                                                                                                                                            #:4450




                                                                         Blvd.
   08/21/12            1026      UNION BANK                              Document Production Fees                                   2990    -00                                   $71.75         $187,021.41
                                 P. O. Box30240Los Angeles, CA 90030-    Subpoena issued from Union
                                 0240                                    Bank
   08/29/12            1027      REMINGTON MOVING AND STORAGE            Storage Charges                                             2410-00                                     $525.00         $186,496.41
                                 14501 S. BroadwayGardena, CA 90248      and Access Fees
   08/31/12                      BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                            2600-00                                     $211.02         $186,285.39

   09/18/12            1028      REMINGTON MOVING AND STORAGE           Storage Charges                                              2410-00                                     $475.00         $185,810.39
                                 14501 S. BroadwayGardena, CA 90248
   09/27/'12                     BANK OF AMERICA, N.A.                  BANK FEES                                                    2600-00                                     $198.36         $185,612.03
                                 901 MAIN STREET10TH
                                 FLOORDALLAS, TX 75283
   09(27/12                      Transfer to Acct # XXXXXX4938          Bank Funds Transfer                                          9999-00                               $185,612.03                 $0.00



                                                                                                           COLUMN TOTALS                             $1,058,275.63       $1,058,275.63
                                                                                                                 Less: Bank Transfers/CD's             $336,964.78         $719,007.69
                                                                                                           Subtotal                                    $721,310.85         $339,267.94
                                                                                                                                                                                                          Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 69 of 77 Page ID




                                                                                                                 Less: Payments to Debtors                    $0.00               $0.00




101
                                                                               Page Subtotals:                                                          $25,000.00         $187,647.17
               Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 70 of 77 Page ID
                                                 #:4451
 $339,267.94




                                                                                                       $0.00
$721,310.85




                                                                                                     $0.00
Net




                                                                                                 Page Subtotals:




                                                                                               102
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
            Case No: 10-00849                                                                                          Trustee Name: David A. Gill, Receiver
       Case Name: SEC VS. WESTMOORE ET AL                                                                               Bank Name: Bank of America
                                                                                                               Account Number/CD#: XXXXXX1708
                                                                                                                                         MONEY MARKET
   Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
 For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


        1               2                           3                                             4                                                   5                   6                     7
 Transaction Date    Check or             Paid To /Received From                      Description of Transaction               Uniform Tran.     Deposits ($)
                     Reference                                                                                                                                     Disbursements ($)    Account/CD Balance
                                                                                                                                   Code                                                         ~$~
    10/12/11                     Transfer from Acct # XXXXXX1698         Bank Funds Transfer                                    9999-00            $235,531.25                                $235,531.25

    10/19/11                     Transfer to Acct # XXXXXX1698           Bank Funds Transfer                                    9999-00                                    $2,532.03          $232,999.22

    10/31/11           INT       BANK OF AMERICA, N.A.                   Interest Rate 0.010                                    1270-00                    $1.28                              $233,000.50

    10/31/11                     Transfer to Acct # XXXXXX1698           Transfer of Funds Per Melvin                           9999-00                                       $210.77         $232,789.73

    10/31/11                     BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                       2600-00                                       $192.23         5232,597.50

    1 1/01/11                    Transfer to Acct # XXXXXX1698           Transfer of Funds Per Melvin                           9999-00                                        $38.99         $232,558.51

    1 1/14/11                    Transfer from Acct # XXXXXX1698         Transfer of Funds Per Melvin                           9999-00                   $33.99                              $232,592.50
                                                                                                                                                                                                                                         #:4452




    1 1/30/11          INT       BANK OF AMERICA, N.A.                   Interest Rate 0.010                                    1270-00                    $1.91                              $232,594.41

    1 1/30/11                    BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                       2600-00                                       $286.74         $232,307.67

    1 2/05/11                    Transfer to Acct # XXXXXX1698           Transfer of Funds Per Melvin                           9999-00                                         $0.06         $232,307.61
                                                                         BANK SERVICE FEE
                                                                         NOVEMBER 2011
    1 2/22/11          101       TRANSFER TO ACCOUNT XXXXXX1698 Transfer of Funds Per Kcenia                                    9999-00                                        $30.41         $232,277.20

    1 2/29/11          102       TRANSFER TO ACCT XXXXXX1698             Transfer of Funds Per Kcenia                           9999-00                                       $135.00         $232,142.20

    1 2/30/11          INT       BANK OF AMERICA, N.A.                  Interest Rate 0.010                                     1270-00                    $1.97                              $232,144.17

    1 2/30/11                    BANK OF AMERICA, N.A.                  BANK SERVICE FEE                                        2600-00                                       $286.41         $231,857.76

   01/10/12                      TRANSFER FROM ACCT XXXXXX1698          Transfer of Funds Per Kcenia                            9999-00               $2,237.77                               $234,095.53

   01/10/12            103       TRANSFER TO ACCT XXXXXX1698            Transfer of Funds Per Kcenia                            9999-00                                    $1,000.00         $233,095.53
                                                                                                                                                                                                       Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 71 of 77 Page ID




   01/10/12            104       REVERSAL OF STORAGE CHARGES            Transfer of Funds Per Kcenia                            9999-00                                    $2,237.77         $230,857.76
                                 Transfer to Acct 1698




103
                                                                                Page Subtotals:                                                    $237,808.17            $6,950.41
                                                                                      FORM 2
                                                                  ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
            Case No: 10-00849                                                                                        Trustee Name: David A. Gill, Receiver
       Case Name: SEC VS. WESTMOORE ET AL                                                                              Bank Name: Bank of America
                                                                                                              Account Number/CD#: XXXXXX1708
                                                                                                                                        MONEY MARKET
   Taxpayer ID No: XX-XXX0295                                                                          Blanket Bond (per case limit):
 For Period Ending: 06/17/2019                                                                        Separate Bond (if applicable):


        ~                2                         3                                             4                                                 5                    6                     7
 Transaction Date    Check or            Paid To /Received From                      Description of Transaction               Uniform Tran.    Deposits (~)      Disbursements ($)
                     Reference                                                                                                                                                        AccounUCD Balance
                                                                                                                                  Code                                                       ~g~
    01/12/12            105      TRANSFER TO ACCT XXXXXX1698            Transfer of Funds Per Kcenia                           9999-00                                        $0.01         $230,857.75

    01 /13/12                    TRANSFER FROM ACCT XXXXXX1698          Transfer of Funds Per Kcenia                           9999-00                  $90.00                              $230,947.75

    01/13/12                     TRANSFER FROM ACCT XXXXXX1698          Transfer of Funds Per Kcenia                           9999-00                 $502.00                              $231,449.75

    01/17/12           106       TRANSFER TO ACCOUNT XXXXXX1698 Transfer of Funds Per Kcenia                                   9999-00                                      $592.00         X230,857.75

   01/20/12            107       TRANSFER TO ACCT XXXXXX1698            Transfer of Funds Per Kcenia                           9999-00                                   $2,393J7          $228,463.98

   01/31/12                      TRANSFER TO CORRECT TRANSFER           Transfer of Funds Per Kcenia                           9999-00                   $0.65                             $228,464.63
                                 ON 1/3
                                                                                                                                                                                                                                      #:4453




   01/31/12            INT       BANK OF AMERICA, N.A.                  Interest Rate 0.010                                    1270-00                   $1.96                             $228,466.59

   01/31/12                      BANK OF AMERICA, N.A.                  BANK SERVICE FEE                                       2600-00                                      $302.41        $228,164.18

   01/31/12            108       TRANSFER OF FUNDS                      Transfer of Funds                                      9999-00                                        $0.65        $228,163.53

   02/14/12            109       TRANSFER TO ACCT XXXXXX1698            Transfer of Funds Per Kcenia                           9999-00                                   $2,793.32         $225,370.21

   02/29/12            INT       BANK OF AMERICA, N.A.                  Interest Rate 0.010                                    1270-00                   $1.80                             $225,372.01

   02/29/12                      BANK OF AMERICA, N.A.                  BANK SERVICE FEE                                       2600-00                                      $269.35        $225,102.66

   03/23/12                      TRANSFER FROM ACCT XXXXXX1698          Transfer of Funds Per Kcenia                           9999-00            $40,000.00                               $265,102.66

   03/30/12            INT       BANK OF AMERICA, N.A.                  Interest Rate 0.010                                    1270-00                   $2.00                             $265,104.66

   03/30/12                      BANK OF AMERICA, N.A.                  BANK SERVICE FEE                                       2600-00                                      $289.88        $264,814.78

   04/10/12            110       TRANSFER TO ACCT XXXXXX1698           Transfer of Funds Per Kcenia                            9999-00                                 $25,000.00          $239,814.78
                                                                                                                                                                                                    Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 72 of 77 Page ID




   04/30/12            INT       BANK OF AMERICA, N.A.                 INTEREST RECD FROM                                      1270-00                   52.03                             $239,816.81
                                                                       BANK




104
                                                                               Page Subtotals:                                                    $40,600.44           $31,641.39
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 10-00849                                                                                             Trustee Name: David A. Gill, Receiver
      Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Bank of America
                                                                                                                   Account Number/CD#: XXXXXX1708
                                                                                                                                         MONEY MARKET
  Taxpayer ID No: XX-XXX0295                                                                            Blanket Bond (per case limit):
For Period Ending: 06/17/2019                                                                          Separate Bond (if applicable):


       ~                2                           3                                             4                                                     5                   6                     7
Transaction Date    Check or              Paid To /Received From                      Description of Transaction                Uniform Tran.      Deposits ($)      Disbursements (~)    Account/CD Balance
                    Reference                                                                                                       Code                                                          ~~~
   04/30/12                     BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                         2600-00                                       $314.93         $239,501.88

   05/13/12                     TRANSFER FROM ACCT XXXXXX1698            Transfer of Funds Per Kcenia                             9999-00            $250,000.00                                $489,501.88

   05/31!12            INT      BANK OF AMERICA, N.A.                    Interest Rate 0.010                                      1270-00                    53.94                              $489,505.82

  05/31/12                      BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                         2600-00                                       $591.17         $488,914.65

  06/08/12             111      TRANSFER TO ACCT XXXXXX1698              Transfer of Funds Per Kcenia                             9999-00                                 $300,000.00           $188,914.65

  06/29/12            INT       BANK OF AMERICA, N.A.                    Interest Rate 0.010                                      1270-00                    $2.12                              $188,916.77

  06/29/12                      BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                         2600-00                                       $310.60         $188,606.17
                                                                                                                                                                                                                                           #:4454




  07/31/12            INT       BANK OF AMERICA, N.A.                    Interest Rate 0.010                                      1270-00                    $1.60                              $188,607.77

  07/31/12                      BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                        2600-00                                        $247.35         $188,360.42

  08/31/12            INT       BANK OF AMERICA, N.A.                    Interest Rate 0.010                                      1270-00                    $1.60                              $188,362.02

  08/31/12                      BANK OF AMERICA, N.A.                    BANK SERVICE FEE                                        2600-00                                        $239.31         $188,122.71

  09/27/i2            INT       BANK OF AMERICA, N.A.                   INTEREST RECD FROM                                       1270-00                     $1.34                              $188,124.05
                                                                        BANK
  09/27/12                      BANK OF AMERICA, N.A.                   BANK FEES                                                2600-00                                        $200.46         $187,923.59
                                901 MAIN STREET10TH
                                FLOORDALLAS, TX 75283
  09/27/i 2                     Trsf To Associated Bank                 FINAL TRANSFER                                           9999-00                                  $187,923.59                 $0.00



                                                                                                          COLUMN TOTALS                              $528,419.21          $528,419.21
                                                                                                               Less: Bank Transfers/CD's             $528,395.66          $524,888.37
                                                                                                                                                                                                         Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 73 of 77 Page ID




                                                                                                         Subtotal                                           $23.55           $3,530.84
                                                                                                               Less: Payments to Debtors                     $0.00               $0.00




105
                                                                               Page Subtotals:                                                       $250,010.60          $489,827.41
             Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 74 of 77 Page ID
 X3,530.84
                                               #:4455




                                                                                                      $0.00
$23.55




                                                                                                    50.00
Net




                                                                                               Page Subtotals:




                                                                                             106
                                                                                       FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
            Case No: 10-00849                                                                                            Trustee Name: David A. Gill, Receiver
       Case Name: SEC VS. WESTMOORE ET AL                                                                                   Bank Name: Bank of America
                                                                                                                   Account Number/CD#: XXXXXX9977
                                                                                                                                         M MA -LAKE BLVD PROPERTY
   Taxpayer ID No: XX-XXX0295                                                                           Blanket Bond (per case limit):
 For Period Ending: 06/17/2019                                                                         Separate Bond (if applicable):


        1                2                          3                                             4                                                    5                    6                    7
 Transaction Date    Check or             Paid To /Received From                      Description of Transaction                Uniform Tran.      Deposits ($)      Disbursements ($)   Account/CD Balance
                     Reference                                                                                                      Code                                                        ($)
    06/18/12                     TRANSFER FROM ACCT XXXXXX1698           Transfer of Funds Per Kcenia                             9999-00                $5,000.00                               $5,000.00

    06/29/12           INT       BANK OF AMERICA, N.A.                   Interest Rate 0.010                                      1270-00                    $0.02                               $5,000.02

   07/31/12            INT       BANK OF AMERICA, N.A.                   Interest Rate 0.010                                      1270-00                    $0.04                               $5,000.06

   07/31/12                      BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                         2600-00                                        $6.56           $4,993.50

   08/31/12            INT       BANK OF AMERICA, N.A.                   Interest Rate 0.010                                      1270-00                    $0.04                               $4,993.54

   08/31/12                      BANK OF AMERICA, N.A.                   BANK SERVICE FEE                                         2600-00                                        $6.34           $4,987.20

   09/27/12            INT       BANK OF AMERICA, N.A.                  INTEREST RECD FROM                                       1270-00                     $0.04                               $4,98724
                                                                                                                                                                                                                                          #:4456




                                                                        BANK
   09/27/12                      BANK OF AMERICA, N.A.                  BANK FEES                                                2600-00                                         $5.31           $4,981.93
                                 901 MAIN STREET10TH
                                 FLOORDALLAS, TX 75283
   09/27/12                      Transfer to Acct # XXXXXX5208           Bank Funds Transfer                                     9999-00                                     $4,981.93               $0.00



                                                                                                          COLUMN TOTALS                                 $5,000.14            $5,000.14
                                                                                                                Less: Bank Transfers/CD's               $5,000.00            $4,981.93
                                                                                                         Subtotal                                           $0.14               $18.21
                                                                                                                Less: Payments to Debtors                   50.00                $0.00
                                                                                                          Net                                               $0.14               $18.21
                                                                                                                                                                                                        Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 75 of 77 Page ID




107
                                                                               Page Subtotals:                                                         $5,000.14            $5,000.14
                                                                                                 TOTAL OF ALL ACCOUNTS
                                                                                                                                                  NET              ACCOUNT
                                                                                                                NET DEPOSITS        DISBURSEMENTS                  BALANCE
                                                    XXXXXX1698-GENERAL ACCOUNT                                      $721,310.85           $339,267.94                   $0.00

                                                    XXXXXX1708 -MONEY MARKET                                             $23.55              $3,530.84                 $0.00

                                                    X XXXXX4938-GENERAL ACCOUNT                                   $2,135,228.08          $1,362,425.99                 $0.00

                                                    XXXXXX5208 -LAKE BLVD PROPERTY                                        $0.00                  $9.72                  X0.00

                                                    XXXXXX5851 - OSTES/EMPIRE                                             $0.00                  $0.00                 $0.00
                                                    SETTLEMENT
                                                    XXXXXX5919 -EXPERT WITNESS FEES                                       $0.00                  $0.00                 $0.00

                                                    XXXXXX6623-GENERAL ACCOUNT                                     $750,831.32          $1,851,133.29             $51,007.95
                                                    XXXXXX6747 -EXPERT WITNESS FEES                                       $0.00                  $0.00                 $0.00
                                                    XXXXXX9977 - MMA -LAKE BLVD                                           $0.14                 $18.21                 $0.00
                                                    PROPERTY
                                                                                                                  $3,607,393.94         $3,556,385.99             $51,007.95

                                                                                                              (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                                                                                                                  #:4457




                                                                                                                      transfers)            to debtors)
                                                    Total Allocation Receipts:                  $95,803.06
                                                    Total Net Deposits:                       $3,607,393.94
                                                    Total Gross Receipts:                     $3,703,197.00


Trustee Signature:   /s/ David A. Gill Receiver   Date: 06/17/2019

                     David A. Gill, Receiver
                      1900 Avenue of the Stars
                     Eleventh Floor
                     Los Angeles, CA 90067-4402
                     josephvidaurri@dgdk.com
                                                                                                                                                                                Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 76 of 77 Page ID




108
                                                                            Page Subtotals:                                          $0.00                $0.00
Case 8:10-cv-00849-AG-MLG Document 283-1 Filed 06/21/19 Page 77 of 77 Page ID
                                  #:4458



                                     PROOF OF SERVICE
 2       At the time of service, I was over 18 years of a e and not a party to this action.
   I am employed in the County of Los Angeles, State o~ California. My business
 3 address is 1900 Avenue of the Stars, 11th Floor, Los Angeles, CA 90067-4402.

 4         On June 21, 2019, I served true copies of the following document s
   described as RECEIVER'S FINAL REPORT AND ACCOUNT AND OTION
 5 FOR (1) APPROVAL OF FINAL REPORT AND ACCOUNT,(2 APPROVAL
   OF FINAL COMPENSATION OF THE RECEIVER AND HIS TTORNEYS
 6 AND ACCOUNTANTS,(3) AUTHORITY TO DISBURSE REMAINING
   FUNDS ON A PRO RATA BASIS,(4)DISCHARGE OF THE RECEIVER,
 7 AND (5)EXONERATION OF THE RECEIVER'S BOND on the interested
   parties in this action as follows:

 9         BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
     the documents) with the Clerk of the Court by using the CM/ECF system.
 10 Participants in the case who are registered CM/ECF users will be served by the
     CM/ECF system. ~'articipants in the case who are not registered CM/ECF users will
 1 1 be served by mail or by other means permitted by the court rules.

 12          I declare under penalty of perjury under the laws of the State of California that
      the foregoing is true and correct.
 13
              Executed on June 21, 2419, at Los Angeles, California.
 14

 1S
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                                        PROOF OF SERVICE
